Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 1 of 26 PagelD #: 2730

DECLARATION OF GUY S. LIPE
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 2 of 26 PagelID #: 2731

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CONNECTICUT BANK OF COMMERCE, §

Plaintiff, §

v. §

THE REPUBLIC OF CONGO §
Defendant, § CIVIL ACTION No. 05-762 SLR

and §

§

CMS NOMECO CONGO INC,, §

§

Garnishee. §

 

DECLARATION OF GUY S. LIPE IN SUPPORT OF CMS NOMECO’S FEE PETITION

Guy S. Lipe declares the following:

1, My name is Guy S. Lipe. I am over the age of twenty-one (21) years and
am fully competent to make this Declaration. I am a partner with the law firm of Vinson &
Elkins L.L.P. I submit this Declaration in support of the motion for reimbursement of attorneys’
fees and costs that CMS Nomeco is filing in this action. I have personal knowledge of the facts
stated herein and they are true and correct. The Declaration and its attachments set forth the fees
and costs incurred by my law firm in defending CMS Nomeco in this action.

2. I am a 1983 graduate of the University of Texas School of Law and have
been licensed to practice law in the State of Texas since November 1983. Since November 1983,
I have engaged in a commercial litigation practice with the law firm of Vinson & Elkins L.L.P.
Since the mid-1990’s, a substantial portion of my practice has related to the handling of litigation
matters involving foreign parties. In addition to this case, the cases involving Af-Cap, Inc. in the
Western District of Texas and Fifth Circuit, and the NUFI case in the Northern District of Texas,

relating to the Congo, I have handled other cases involving substantial issues arising under the
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 3 of 26 PagelD #: 2732

Foreign Sovereign Immunities Act, 28 U.S.C. § 1602 et seq. See, e.g., Imre China Oil and Gas
Pipeline Bureau, 94 S.W.3d 50 (Tex. App.—Houston [14th Dist] 2002, orig. proceeding).

3. I am lead counsel for CMS Nomeco Congo Inc., The Nuevo Congo
Company, and Nuevo Congo Ltd. (“the Garnishees”) in the above-captioned case and related
proceedings. I have been in charge of the representation of the Garnishees since inception of the
case and have performed or overseen all legal work performed by Vinson & Elkins L.L.P. on
behalf of the Garnishees in connection with these proceedings. The other Vinson & Elkins
lawyers who have worked on this matter are identified in the spreadsheet attached as Exhibit 1.

4. Acting through a centralized committee, my law firm sets standard hourly
rates for each lawyer and paralegal in the firm, and such rates are normally adjusted as of
January 1 each year. That committee evaluates the reasonableness and appropriateness of the
rate for each lawyer based on the facts and circumstances applicable to that lawyer. The hourly
rates for each of the lawyers that have worked on this matter are reflected in the spreadsheet
attached hereto as Exhibit 1.

5. I am familiar with all of the legal work performed in these proceedings by
Vinson & Elkins lawyers. I have reviewed the time entries for attorneys who have worked on
matters relating to these proceedings and I have identified the time entries that relate to the
defensive efforts relating to the writ of garnishment issued against CMS Nomeco (and related
entities in other proceedings), in this Court and in other jurisdictions in related proceedings, as
well as the preparation of this fee application. Exhibit 1 to this Declaration contains only those
time entries that include time spent in defending against this action. We have removed time
entries in which all of the time relates to proceedings in other Courts or not pertaining to this

specific action. For entries which include time for multiple proceedings, we have included in the
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 4 of 26 PagelD #: 2733

amounts for which recovery is sought in this case only the time attributable to work on this case.
The work of the Vinson & Elkins L.L.P. attorneys reflected on Exhibit 1 was necessary and
proper in defending CMS Nomeco against the writ of garnishment issued in this proceeding and
in preparing this fee application. To date, the amount of attorneys’ fees billed by Vinson &
Elkins for the work reflected on Exhibit 1 to this Declaration is $284,707.50.

6. I am familiar with the customary and reasonable charges for services
rendered by attorneys in a case of this type. In my opinion, the billing rates for each of the
attorneys that worked on this matter at Vinson & Elkins L.L.P. are reasonable for the work
performed. The number of hours of work claimed for the various tasks involved was reasonable
and necessary for the representation of the interests of CMS Nomeco in this case considering that
(1) the time and labor required was great, (2) the novelty and difficulty of the questions
presented in this case was high, (3) the skill required to perform the legal services properly was
high, due to the complex issues presented, (4) the fees charged are customary in the relevant
market for this level of litigation, (5) the fee is based on a fixed hourly rate, (6) time limitations
were often imposed by the circumstances of the litigation, (7) the amount claimed was
substantial, and a positive result (dissolution of the writs of garnishment) was obtained, and (8) !
am experienced in matters involving the Foreign Sovereign Immunities Act and the other issues
involved in this case. Considering all of these factors, it is my opinion that the sum of
$284,707.50 is a reasonable and necessary attorney’s fee for the work performed by Vinson &
Elkins in the representation of the interests of CMS Nomeco in contesting the writ of
garnishment issued in these proceedings.

7. I also am familiar with the expenses associated with work by Vinson &

Elkins lawyers that have been incurred in these proceedings. Attached hereto as Exhibit 2 is a
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 5 of 26 PagelD #: 2734

summary of the expenses incurred in connection with CMS Nomeco’s defense against the writ
issued in this proceeding. Those expenses total $16,886.07. In my opinion, those expenses were
reasonable and necessary in the defensive efforts relating to the writ of garnishment issued in
these proceedings and the preparation of this fee application.

8. The fees and expenses described above do not include amounts relating to
fees and expenses that may be incurred in proceedings arising out of any opposition to the fee
application supported by this Declaration. I will supplement this Declaration with regard to any
additional work and expenses that are required in connection with such opposition, including but
not limited to discovery.

9. In the event Plaintiff appeals an award of attorneys’ fees by this Court,
CMS Nomeco will incur additional attorneys’ fees in connection with that appeal. I have
personally handled numerous appeals from Federal Courts and am familiar with the services that
are required in handling such an appeal and with the reasonable and customary charges
associated with such an appeal. It is my opinion that a reasonable and necessary attorney’s fee
for handling an appeal of an award of attorneys’ fees and costs in this case would be
approximately $50,000.

10. Attached as Exhibits 1 and 2 hereto are spreadsheets itemizing the fees
and expenses incurred by CMS Nomeco in defending against this action. Exhibits 1 and 2 were
prepared utilizing the information in Vinson & Elkins L.L.P.’s billing systems concerning fees
and expenses charged or to be charged to CMS Nomeco for this matter, which billing systems
and records are kept in the ordinary course of the firm’s business.

11. Exhibit 1 is a summary of time entries made by Vinson & Elkins attorneys

who have worked on the above-captioned and numbered case on behalf of CMS Nomeco, from
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 6 of 26 PagelID #: 2735

2005 to the present. The entries relating to work performed by attorneys which are summarized
in Exhibit 1 hereto were prepared by the individual attorneys and were entered into Vinson &
Elkins L.L.P.’s computer system in the ordinary course of business at or near the time that the
work was performed. It is the regular practice of Vinson & Elkins attorneys to make such time
entries and for those entries to be promptly entered into the computer system. The time entries
for the work that I performed accurately reflect the work that I performed on this matter. The
entries for the other attorneys reflected on Exhibit 1 represent work that was actually performed
by those attorneys under my direction and supervision. Where a time entry made by me or
another Vinson & Elkins attorney contained privileged matter, that privileged matter has been
redacted from Exhibit | and a bracketed description of the subject of the privileged matter has
been inserted.

12. With regard to expenses, the entries for expenses that are summarized on
Exhibit 2 were entered into the Vinson & Elkins computer system either by persons with
knowledge of the expenditure or based on information supplied by a person with such
knowledge, at or near the time the expense was incurred. It is the regular practice of Vinson &
Elkins L.L.P. to make such entries.

13. Except for charges and expenses for February 2007 and March 2007, CMS
Nomeco has paid all of my firm’s invoices in full.

Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the

foregoing is true and correct. Executed in Houston, Texas on March 23, 2007.

—
SSS

" GUY S. LIPE
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 7 of 26 PagelID #: 2736

Exhibit 1

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 8 of 26 PagelD #: 2737

SIXT pSSsole { 98eg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“ales Gulpyebes juBIS URDUNG
UM a2U818jU00 su0Ydej9} ‘Aideuns ajgissod BurpueBes jueI URDUNG YIM sleWa eHUPYOXA ‘Ajdal UI Pey!O SeSeD MBIA! /PUBWE! 0} UOIOW 0} asuodsal 0} Alda, MOIASHIGZ'O Sz BLes ISz-0 GZ Bless Ang ‘adiisos/el
‘W
*‘PUBLUA 0} UOOW Jo poddns ul Aide: Matas |Sz'0 Sz 18s iszo Sz Les uosep ‘siamOd(SO/E/S L
‘aes Guipiebed Jueld UBOUNG UM BoUe1aJU0D BUOYdajay
‘uowow ssoJ9 8iqissod pue jawBpn{ Arewuwins 40) uopow BulpseBed xO4 puRjoYy pue jUBJy UBOUNG UIIM sjreWwe aBUBYOXe JUeLUBpn{ AJeWWNS Jo} UONOW MaIAaHIOS‘O OS'Ziz$ 0S'O OS‘ Ziz$ Any ‘adrijso/b/eb
“eues Buipsebes x04 PUB|OY 0) HEWA Yesp -uOgIe 2. 12Q Ul JUeWDDNT Areutwns JO} UOQOW MAIA@Y}OS'O 0S'ZLZ$ ioS'0 los ZL z$ _ And ‘edrso/oe/1 I
“UORBIE|O@P MAlAal JAMSUP 10) VO|Be ep pueWeg Bulpsebe: ess URDUNG pur xO4 pUB|OY YM sileula ebueyoxe
“PueWias 0} UOHOUL 0} asuodsad jo Buy} BulpreBau jueID UBOUNG YM s|/BUua ebuBYyoX~a !puBWE/ 0} UOHOW Oo} esuodse, BulpsebeJ xO4 PUR|OY YM BoUEJe}LI00 eUcYde|s jos'0 OS'ZLZ$ i0S'O OS’ Ziz$ Any ‘adr }so/ez/t
“Yep 0} SuoisiAal GuipseBas jue UBDUNG YIM SadUasE}U00 SUOYde|a} yeup Pesiaal
auedaud ‘pugwie, Oo} UoNOW 0} asuodsal UO SJUaWUOS |BUORIPpe MAIAA/ ‘ewes BulpseBay JUEID UBOUNG 0} |EWe YEP !PUBLWAI O} UOJOU 0} asUOdsed JO) SUqiUXe eIdWOD
‘esuodsai jo yeip pasiaal Surpsebes sabpoy alia pue xo4 PUueIOY 0} ewe WeIp ‘esuodse: jo yep Pesings asedeid ‘pues 0} UONOW 0} ssuodsal UO sjuaWUOD MaIAaLy|00'Z i00'0S8¢ 100'Z 100'0S8$ Any ‘editicoyez/ bb
‘W
“suoded uoNBoyeA pue PUBWO YEIP MAIAGH|SZ7°O Seas iSc'0 Se’ L8$ uOset ‘SJIOMO/GO/L/LL
“‘puewel
0} UojowW oO} asuedsal jo yep BuipreBed xo4 PuRIOY 0} jee Yep “yeup pasiae BulpseGeu ese) UEDUNG UUM SeOUAIa;U0O auCYda|E} ‘PUBL! 0} UONOW 0} asuodsey
JO Yeap pasiaas auedaid ‘pueWai o} UOROW 0} esuodse JO WeIP MBIAAJ ‘UOREOIIUAA 9I13 0} BARS] JO} UOHOW pue PUB: 0} UOOW oO} ssuodsa: Bulpyefal werd UeDUNG
uum saBueyoxa jieuie pue seouaiajuco euoydaja; ‘UOWeOYUOA asedadd ‘UOHeOYLIGA B]I} 0) BABB] JO} UOROW eS|Aes Pue MAA ‘pUBWWA: 0} LOROW Oo} esuodsel a1edelg}o0'S 100'SZ1'Z$ 00'S 100° SZ1'2$ Ans ‘adriSoyvt2e/b tb
“PUBWSI O} UOROW 0} asUddsel UO YOM ‘aes Bulprebes juBIS UBOUNG YUM BdUaZaJU0D
eudydaje) ‘pues: 0] UONOW 0} esuodsaJ jo Yep jo snyeIsGulpyeBes yesD UeOUNG UNM Sewe aGUeYoxe ‘puewas Oo] UOOW MalAal 'SUONdeoxs UI syuIod sseippe
0) Aresseoau yureso, BuipieGes jUBJD UROUNG UBM SequaJejUCD aucYde)a} ‘ewes Buipsebe: JueID UBOUNC UUM siree eBuEYoXe “eMsUR 0} SUOIIdeoxe MaIASY100'Z 100'0SRS ioo'z loo'0ses Any ‘sar fsovek/b bt
“owes
Buipyebe. xo.4 PUR|OY 0} |/ewWe WeIp ‘puewa/ o} VoNOW BurpueBeu JuerD UOUNG oO} jeWe yelp ‘senssi Bujwy UO YoBasel ‘uONIe aleME|ag PUEWA 0} UOHOW MaIAeY ICs ‘0 SZ BLES iSZ'O SL Shes Ang) ‘odr|sov6/1 +
Ww
“JOMSUB BJBME[SQ JOJ S|UBWYIEYE a|jOOjs2'0 SZ eves SLO SLEves uoser ‘sued [GO/2/L L
Ww
“Buyjly 205 sUBWNIOP JeAOWAIZeMSUE a7edesd {SZ "| Se'90r$ Sch Se’ o0r$ Uoset 'SJOMOd jSO/L/Lb
‘Leyew eyeedas}
‘awes 0} Buleyjey syqiuxe jo UoIR||\dwice 'jeAoWel Jo
gonou puke Jemsue Bulpefes yuRId UBsUNG yum sabuRYoxa |leWe pue seoUase}UCd suoYyda|ay eydyinw owes BuipseBes x03 PUE|OY O} WE Yep ‘[sanssi |eUONDIpsUN!]
0} Buea, peAowad JO eanou oO} SuUOIsIAal auedeid ‘[senssi peuogoIpsuN
Uo Sase0 MalAal ‘owes Bulpsebe, x04 purlOY 0} ||PWe YeIp “JEMSUE JO YIP pasiAal esedaid eMsUe 01 SUOISIA[! pasodoid YyIM X04 PUR|OY WO, [!eWe MalAay!G7'Z SZ'S9L'LS loss OS Z€¢'Z$ Ang ‘ogrSO/t/bb
. ‘W
“s6ulpeeid Jemsue/(eaowias Yeip UO JUsWWCD pue MalAaY|o0'2 100’ 0S9$ O07 loo 0se$ uosep ‘SIOMOd|SO/LE/OL
“@SED SJEME/OQ Ul SNES |RPAOWSL MAIAGHI0S'0 100 00E$ 10S 100 O0ES xouy ‘AiBUUNN|S0/9Z/0b
‘A
“OWES JO} SUSSU! MB] Osede.d pue YouRESeZ ‘sieded jUeWYsiWeb eseME|ag 0} SUOISIAG) waroulooz 00'OSes O02 100'0S9$ uosef ‘SIOMOd{SO/1Z/O1
‘aes Buiprebai Siam UOSEP PUR JUBIO) UBDUNG 0} (/BWS YIP JUIWYOEYE JO JNM 9B. 120 0} JOMSUP PUR JPAOWWO. JO BOOU GuedalglOo'2 0'oSes HO 00 OSes AND ‘Bar |SO/9L/OL
“JOMSUE PUP |BAOWOI JO BO}OU UO JOM UIDSq ‘ewes Duipsedai jUeId URDUNG PUB SIOMOg LOSES O} SIIEWS YeIpP JUSULOEe JO UM MOIASYIOG O 0S'2 12S 0S'0 09°29 Any ‘adiy b/OL
‘awes 0} Duneiay ADayeyS Oulprebss x04 PURIOY O} [|!eWE Esp UAWYeNe JO WM BeME|Eg deo jy Oulpsebe. jaSUuNOS $,deD jy WO Jana) MOIAa OS O oS’ Zi2$ 10S'0 los 2kz3 NH ‘edri|SO/E+/Ob
SANeueN wBnos sup | yBnos wy SJH 52 wy eseq | eueN ddl eq

 

 

 

 

 

 

 

SUNY[A] WOSULA S904

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 9 of 26 PagelD #: 2738

STX'T¥SSs91€ Zo8eg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“Aides jo Buyy Burmoy|o; sGuipassoid sremejaq
Ul SJUeAe payedionue BuipreBes yuesE) UEOUNG UUM 89U9J9jU09 auoYdeye} ‘Bury 40) Aides OZI/BUl) 'SUOISIAQL Jeuonippe 0} pueBas yim SuonseBBns pue syueWwWoo esedaid
JUuBID UBIUNG wou A\de 0} SuOISiAeL JeUOII|Ppe MaIAG! ‘SUCISIAS! [BUOWIPpe BulpseBey JUeID UEOUNG YM silewe eBueyoxe ‘suoyeyo picode: Buipnyout ‘Aida 0} SucISIAEL
jeuonippe asedaid uewBpnf Aewwns 10) uogow ssid 0} uoN|sodde 0} Ajdai BuipueGas JueiD UBOUNG pue ‘Zonbieyy oBupoy ‘se6popy og wim sirewe ebueyoxaioo’s 100'0SE'1$ 100°e 100 OSE’ IS Ang ‘adriteors/ ‘
"uewBpnf Arewwins 40}
UoROW ssoud Oo} UoNTIsoddo 0} Aides Suipuefes Zenbaeyy OBypoy 0} jews yep pure Aida, JO UCISIaA pasinas eiedaad ‘Ajdau UO seBpoH 3i!9 WO} SJUBWLUCS MalAdL ‘Aides
SuipieGei safpoy a1/i3 yj srewa BBuEYoXe ‘enss! UOISN}}O9 UC aWeS JO} usu! asedeid ‘uewOipn! Arewuuns 10} UoNOU! ssol9 0} UONSoddo 04 Ajdau UO YOM eNUNUODIOO'y 100'008'1$ 00’ 100'008' L$ Ang ‘adi eo/p/+
‘Aides BuipueBas seopoH 31[3 OF
(ewe yeup ‘Ajai Uo yom anuljuCS ‘auses Bulprebe: sabpor aili3 yim soUeJejUOD sUOYdee) “UeWBpN! Arewuns JO} UO}}OUWN-SSOs9 0} UONISOddo 0} Ajdau Jo yep aedezglOg'6 100'SLZ'r$ los'6 100'SZ2'r$ Ans ednbor
‘MawDpnl ens 10} UOHOU-Ssald 0} UONISOddo oj Aidas jo yep UO HIOMAIOO Zz 100'006$ 00'z 100006 And ‘adr joo/2/t
Ww
‘you esuodsai deg-jy manaulcz'o SZ 18S Sc’ ise’ Les UOSEP 'SI@MOd |SO/OE/ZE
“A\dai jo uonesedaud 10} Burwn pue juewOpnl Krewiuns 10} uojow ssouo 0} uonisoddo Buipuebes sebpoy ara pue zenbseyy obupoy Oy Siewe yeagisz'o I6Z'901$ isz’o ISZ'90L$ Ane) ‘edm{so/oe/et
“owes Bulpiefes weip uzounq pue seBpoy aij 0} sjewe yelp ‘Aided jo yesp pesiaa: osedaid ‘Aidauns aj!) 0} ABs] 10) UOROW 0} Ajda! 0} SUCISIAes pesodaid vonouloe los /€9$ los’ OS LESS And ‘ednjisovezz1
“Adauns aiy 0} BABS] 10) UONOW OF asuOdsa: 0} Aideu Yelp DuIpiebes ZeNnoUBW] ODLPOY YM SoUelajUoo ouOydale 1 |S2'0 ISZz'901$ z'0 SZz'90L$ Any ‘adr|so/zz/e1
‘awes Duipiedes sebpoy ayia pue zenbiey obupoy 0} |lewWa yeip ‘owes o} Aides redaid ‘Ajdeuns of) 0) eAea| 30} LOROW 0} SSU0dSes MEANY }00'Z 100 0S8$ 100'C loo oses$ Any ‘edn{so/pe/er
“A\daz Ul pasres ssouy 0} SJUOWINDIe-19}UN0D dojeAep <oJEME|eG Ul WewWSpnl APeUINS 10} UoBOW O} UONISOddo oF Aidaa MalAOLIOS Lt log 269$ OSL 0S ZE9$ And ‘edryisovez/er
“awes Buipsebes zanbiey obupoy pue xoj pueioy
0} ewe yeJp ‘Sayideu UNM payeloosse Seul|peep pue owes BulpleBes jueID UBDUNG YUM BoUEIEjUOO euOYde/e) ‘aemeEleg UL sBully deo jy 10 Maines AeUlUord pnpuoglas’o OS‘ ZL2$ los‘o OS‘ Z1.2$ Anry ‘edrqfso/zze4
‘Ajdai jo yesp pasiras
UO OM ‘UONBOYLBA Ppe 0} UOROW 0} BSUCdsed 0} AjdaJ BulpseBes seHpoy 91/19 pue JUBID UeDUNG UM SabuRYoXe EWS pu $e0UaJ8jU09 sucYdsa)s} ‘sqiuxe BurpseBes
JUBIE) UROUNG WIM SiiBWwe aBueYyoxe ‘Bully eseMeE|eG JO} SJIqIUXe ;eUOAIPpe sjidwoo ‘ewes jo Buyy pue awes Burpsefas seBpopy aig pue JURIED UeoUNG UM seBuRyoxe:
ewe ‘jeg jewBpnf Arewuwns Uo 410m aNuNUOS ‘UOnBIeOep PieLuAg es(RW 0} GuNeel Sanssi UO YOM ‘sHull as2Me\9Q pue sanssi [spucoes ssauisna]
UO |[ED GQUeIBJUOD UI ayedioled ‘10; eredeud ‘[eouepias yuawBpn{ Arewwns} BurpueBas uejayeuD siueq YM sjewe aBueyoxgjoo's 00'SZL'Z$ lo0'S 100 SZE'2$ And ‘edn iso/p zt
“uewBpni Areuiuns 40) Uojou 0} SudISiAe: UO 10M aNURUOD ‘AjdaJ BulpueBa, xo4 puejoy Oo} jew Yep ‘Ade. BurpueBe ued ueDUNG pue seBpo} e113
4m sebueyoxe jews ‘Aide, jo yezp pesinas azedaid 'UOHROYLaA ppe 0} UO}OW 0} asuodse: oO} Ajdal jO yeup melAed ‘owes BuilpseGe x04 puRjoY 0} ewe yep ‘[spose'
ssoursng} Buruseoucs suogsenb pue senssi Ayuap! ‘ewes BuipyeBes ueweg Apuy pue sefipoy et/19 0} syewe yeup ‘owes BuipseGar x04 puejoy
WpiM siewe eGuryoxe ‘[spiooe, ssoursng] mainas ‘sueAme| }UBIUY 9 UOSdWOY] PUB XO4 PUB/OLH WIM [129 20U920}U09 U! eyEdIoMEd ‘10; euedaid {0001 100 0SZ'r$ 100'OL 100'0S2'r$ Any ‘edisovet/er
w
‘asuodsaz jusw6pn| Arewwns yep nenoulseo SZ Les iSz'O Sc Les UOSEL ‘SIBMOdISO/ZL/ZL
‘uolou Ssol0 pue asuodsel
JO Yeap Burpee soBpop eui3 pue x04 Pue|OY O} /EULe Yep ‘UONeIe|Oep preEWeG asAreW Jo YIP pasiags asedaid ‘uONOW Ssolo pue esuodse! JO Yeup ezyeuy ‘uoyoW
sScus pue asuodsa BulpieGe: seBpoy 9i](3 pue JUeID UBOUNG YIM Sa9UelEjU09 eUOYda]a} ‘AJEMEIOQ LU! quewBpn{ Aiewuns 40) uogow ssouo pue yuowBpnl Arewwns Joy
UoNOW deo sy 0} asuodsal LO YOM eNUNUCD ‘[FUeWYSIUEB aseME|aQG 0} Po}Ejes Senssi] UO YoRasel jONPUdD ION’ | } 100'SL9'r$ look E 100°S29' rs Any ‘edrq|so/et/2n
‘ewes Bulpsebe: sabpoy 91113 0} ewe yep yueLUBpn{ AewUNs 404 UOOWI-ssol9 pue jueBpn! Aewuns 40} UONOW 0} aSUOdSaL Jo WRI pasiAas asedaugloo'e 100°SZ2° ES joo" 100'SZ2'1$ Any ‘odiisovor/er
uawBpni
Asewiwns 40) uonous 0] esucdses UO WOM anuIUCS ‘ewes BurpseBad x04 puRjOYo) We yep ‘ewes BuipseBe. Juez UeUNG YM sjreWe aGUPYOXS ‘pus 0} BARE] 10}
uonow 0} esuodsel deD jy Maine, ‘ansst aa) sAawoye uo AjUoUINe jejuaWaiddns jo so1}ou Jo WeIp MalAas “UaWBpN! AeWWNs JO} uonow 0} asuodsal UO ¥JOM ENUIUODION'S 100'SZL‘2$ (00'S 00'SZi'Z$ Ans ‘edr|sove/el
“WES 10} preWOg es(GEY JO UONeseOEP Jo yeip asedaid UeWBpn! Aewwns 10) UoNOW sso/0 pue juswOpn! AseWUNs 40} UO}OW 0} esuodsel
JO Hep Isuy auedaud ‘ewes BuipseBai ues uesUNG pue seBpoy 21/9 WIM Siewe aGuREYyoxa ‘ewes 0} SuoisiAe/ auedaid ‘AjdaLiNs B11) 0) BARS] JO, UONOW! Jo JEap MaIAoH/|O0'R 100 00r'e$ loo'e 100 00F ‘ES Any ‘edrjsove/e1
‘A\dauns 6urpseBes ues) uedUNG
pue sabpox 21113 0} ewe yesp ‘Aideuns jo yesp asedaid ‘Ajdauns Bury; ur ABayeas SuipueBes qUBIE UBOUNG YIM BOUGIB}UOS aUOYdala} ‘ded jy Aq pesies Sjuawnbe
MOU UO YUBESSJ JONPUCS ‘senss; puewal Uo Aidas deg jy melAad ‘[LJeyeU oyesEdos}
0S} jos'Ze9$ os‘ OS’ Z8P'i$ Ang) ‘edrijso/ze

 

SUIYJA UOSUI A $39

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 10 of 26 PagelD #: 2739

STX'T pSssore € aBeg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘W
“‘sueded Jepso jeujesdeunsojasip jenul UO JUBUILOD puke nonrouloso 00'SLLS iOS ‘0 100'SZL$ UOSEP ‘SISMOd 190/0 L/S
da
“ewes Bupsebe adr And puke siemog UOSBS LIM BOUIJEJU09 “Japso Bullnpeyos esp ssiAe! pue MalASY|SZ't GZ €6E$ SZ L SZ S6E$ Joye NM “@kEWI90/0L/8
‘owes Ouipyeba zekeyy 198}12 M PUL SIOMOG UOSEP UjIM SELIG BDUBYOXS -LONPDH] eJeMeE|eq JO} Jap10 DUlINpauas jo WeIp MOIACH OS O loo’ szz$ loS‘O 100'Sze$ And ‘edI4190/0 1/8
WwW
‘SANSS| JOYjO PUB SesNsOpOSIp yeniul BulpyeGas waheyy Jee AA PUB ZIEY WEI UM J8jU09 ‘uOONpPoud 40, SJUBLUNDOP aredasgioS'O 00'SLL$ i0s'0 100'SL1$ uoser ‘somone
“yoyew “Y
BJEME|AG 10} sjoelqns AleACOsIp 40 JSH} B}B9s0 0} BONOU UOIISOdep Yesp pue AIBACOSIp Maina! ‘3ApI0 BuIINPayS PUR SoUNSO|DsIp JeMUI UO s¥aMOYg LOSer WIM B9UBIB}U0DIC/ ‘0 Sz 9ez$ iSz'0 sz’ 9ez$ JOURN “eke hearer
“SONSS! BOUSIEJUOD W
SuipreBes wee} ym puodsauod ‘uoTonpoud aunsojosip fe!yu! JO} UORDE|O9 JUBUNDON jo ssasBoud JOWUOW ‘uONoe areMejag Ul S@INSO/OSIP /eIUl BSIAB! PUB MOIABHISZ' 4 OS'Z19$ SZ 10S'Z19$ uoser ‘SIaM0d|90/8/8
a Le
“BUNSO)OSIP 405 SJUSWNDOp Jo LOHBIedald OF PUSYE ‘SeuNSOOSID feIU! UO sYaMOd UOSEP UJIM BdUEIQjUD ‘UONONpOId 10) S;UeWNOOp azIURBIO pue MAaIAaY|O0' |} looses 100° |. lOO SLES Jaye MA ‘eke W190/E/8
Ww
‘ssaiBod sesnsojosip MaiAad ‘saunsojosip BuipreBa, sokeyy see MA UM J9jU09|6z'0 0S 28S iSc'O 10S 'Z8$ uoser 'siam0d |90/E/8
‘Yd
“OWES UO SIOMOg LOSES UIIM OUGIBJUIOO ‘SOINSO}OSIG /BNIUI JO} S|UBLENDOP BJEME|AG MAIABY|GT'O GL'82$ ISz'0 iS /'8l$ Jone M ‘JaAeW{o0/E/8
‘adry Ang) 0} ewes puas ‘a
‘[sanss: jeuonsipsunf] UO WNPUBIOWAaW YoseeSa aZ21/PUl pur ‘eZIPIaydays “pe ‘pesinas ‘peayoOOld|00'y 100'00S‘1$ 100'r 100'00S'1$ laiueq ‘apuiH|go/eve
‘{sanss} jeuonoipsuni] uc a
ysurasal ‘[senss) jeuonapsun|) UO WNPUBIOWSW YDeesal YEIQIG/' 2 S2'906'2S iSL'2 S2'906'2$ lalueg ‘epulH|s0/2/8
‘ales Buipiefer wnpueowew Yoleasel B YBIP OF SJYOnNoU} 3
pue sajou BuiziueBbio ui6eq ‘[sanssi jeuonsipsunt} uo seseo Bulmoiaal YsiUy ‘youeesss BuipueBes adr And uM siiewe aBueyoxajoo's 100°SZ8'1L$ 00'S 100°S/8'1$ jalueg ‘aputH{ao/b/8
‘sully euemeleg nonouloso l00'SzeS 10S'0 00'SZES xOUM syewunifoy bese
“awes Duipsebes adr And o} jrewe Ue pues ‘eules Bulpuebad ”3
adi] ANd 10) |1eWaedi0A B eaee| ‘[Senss| |PUOQoIPsUNt] uO YoIRaSE) BNUnUOD|GZ'9 Sz les‘es ISZ'9 Sz Les‘e$ [@1UeG ‘@PUIH|90/LE/Z
a
‘[sanssi jeuojoipsun) yueeseylce SZ ebo ks Soe SLZ812' ts [8lUeQ “SPUIH|90/8C/Z
‘gd
“BANSOPSIQ [BIMU] Sz BIN Yesp ‘sjUeWNdOp JOYeW SeME|OQ MA\ASYIS/'S Se 18h LS SLE Se 1eL'ls JOYE IBARWOO/Z2E/2
‘Jepso Burinpayss pue [senssi Aleacosip uo]
SSIUSIP 0} UONOU! ajqissod uo ABayeujs BuipseBeu ABy HIG PUR JUBID UBSUNG UII SeDueseju02 aucudalaLlos‘o loo’ Szz$ 10S'0 100'Sz2$ Any ‘edri90/Z2/2
W
“Yep Sunsojosip BuipreBes Jakeyy 19}/2 MA UM JOJUOD ‘senssi aiNsOjOSIP UO BoUapUCdsaLICS MAIABY|OS'0 lOO'SZLS i0S'0 100SL1¢ uosep seroma booze
‘Wd
“OINSO|OSIP JENIU] UO SIOMOY LOSEF YPM AOUAIAJUOS ‘UONONPOIG [NIU JO} SJUALUNDON 199|/09 UayJeW BIEME|O JO} SJUSLINDOP MBIAG ‘UNSOIOSIP gz ejrs YQRESAL|Sz7'S ISz'€S9'1$ ses SLES9'LS JayeAA ‘WeABW eld.
“aes GuipseBos ZIBy [11g pue ‘siIaMog
uosep "jUBID UROUNG WIM sIlPWwo aGueyoxe ‘ewes Bulpsebas xoy puB|OY WIM seoualajuCD aUCYde|9} ‘senss! Ai@Acosip aremejag Bulpie6a2 x04 puRjOY o} jeWe YeIGIO0'L 100 'OSr$ 100"! 00 0S¢$ Ang) ‘aditgose2/z
‘ees Oulpsebe Zey fI1g WIM BOUBIEJUOD BUCYda|s} ‘Jep10
Suynpeyos/ueld Aeacosip pue ainsojosip um Buyeap ul ABajeas GurpseGas Z7ey} jI1g 0} ewe yeIp ‘UCREBHY eseMejOG Ul A@Aossip ya Buyeep uy ABeye.)S dojensqjost 100°S29$ OS} 100°S£9$ Ang ‘adinjoo/Se/é
‘peyew ayesedeas}
‘uoqoe a2eMe|eQ Ul Senssi AIs@Acosip Bulpuebas juBJD UBDUNG YM e2Ua18jU09
Su0yde|9} ‘uoIsisap D4 Buipueber ues ueoung oO} |leWe yezp ‘[UORoe asemPjag Ul sjyBU]
$,06ucd 0} Bugeies uonsenb ym peyeicosse sanss; }e6a] BulpseBas 2Xq dijjiud yim souaIaJu0D aUCYdaja} ‘eseo auemeEjag Ul ABayeys AIeAOOSIp dojeagp ‘suEp0
aremejeq BuipueBe: x04 purjoy yy siewa abUEYoXe ‘eseo sieME|EQg Ul SsepI0 MaIAOL ‘eyeW e}esedas] 100'2 100'006$ LOOP 1000081 $ Any ‘ed i9o/pe/Z
'W
‘awes BuipseBeu xo puejoy WM puodsaioo ‘ewes Buipebes adr And uym 20jU09 ‘suaplo YNOD aJeMeE[ag MeIAeH|OS'O 100'SZ1$ OS'O 100'SLI$ LOSBL 'SIOMOd iL
‘S}UM MAU UIR}GO 0} Jdwaye Oo} Buneies Ayance 10} Jaeys Jaxo0p jo Bupjdeyo SuipseBes juelH ueouNg UM Silewe sbueyoxs|Gz 0 OS ZLES S20 los zis Ang ‘edrjgo/eve

 

SUTY]A UOSUIA 5334

 

 

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 11 of 26 PagelID #: 2740

STX'Ipsssole po8eg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“ewes Durpebei adi] AnD puke siaMOg UOSEP UyIM eoualajUCO -SiOWEW Yy
parele, ul peonpaid siuawnoop Meisel ‘spi09a) Gung pue sayBW eseEMe!aQ Ul PeoNpasd sjusWNZECP 1981|00 :Seoj0u uoRIsOdsp pur sjsenbad Jo Arewluns asinay}og’e 10S £/9'2$ ios’ 10S J/9'Z$ Joye an ‘“akewloo/oc/oL
‘Loyew eyesedas)
‘ewes BulpreBas saXeyy 2903/2 A Uti BOUBIEJUOS PUB
SHOMOd UOSES YIM SeoUa19jU09 auoydaje} ‘senss! Aeacosip GuipieBeu x04 puejoy pue URI UBOUNG ‘UeUUag Apu UIA $80UA12@jU00 SUOYdeja} ‘JesuNOD aueMeE|Og
S.,deo jy 0) eule as|Aal ‘JeSUNOD ereME|Eg $,deD Jy Wody EWS 0} esuodsal BuIpeGeL XO Pue|OH PUR JUBID UBSUNG ‘UBWEg Apu Ulm S89U9J8jU00 eBuOYUdese 1 |00'L 100 0Sr$ 00'S 00'006$ Ang ‘admisovoe/ot
‘d
“s0qou uonisodep pue stsanbai jo AeWuNs ajeeio ‘WNpUBJOWeW edI7 ANd pue sjsanbe, Alenoosip mainay}oo'z loo 0se$ l00'Z loo’ 0f9$ JOVEM ‘sakeyy [90/62/01
“SMPIS MOIABH IGZ'0 0S'Z9$ isco 0S'Z91$ xOUy ‘ayeounntooz0
‘Layew oyeedos] ‘aes buipsebel uewieq Apuy pue x04 Pue|Oy UUM
syeuie abueyoxe ‘ewes 0] ssuodsai pasodoid yep ‘1ajSUBW) Jo BdNOU 40} Jsenbai pue uONNIISsGNs 40; uonow Bulpuehes jesunos areme|eg s,deo jy wou ewe MelAey|sz‘0 los Lees OS}. 100°S9$ Anz ‘adr ea/zz/or
‘d
‘Ysenbe. Asencosip 0} oajsuodsau sjuewndop J0]] sseeU! peyeja1 UI peonpaid sjuaWNDep MalAes PUe ‘aziueBio ‘pe|lODISz' 4 sz1ss$ GLb Sz LSSs JOVEN, seherlooez01
‘H
“swes Buipiebes adr And ym eoueiajuC9 ‘[sanss| KeAcosip] yorrasal ‘sesuodsas (u@acssip uo LunpuBJOWeW adr] And maiaayloo'z loo 09s 00'Z i00'0E9$ JOVEN sofetileorszro1
‘Leyew ayeiedas)
‘owes BupeBel x04 pUB/OY O} EWS YIP ‘AUeACOSIp jaWNdop 0} seyoeoidde Pesodord jo Alewuins ayedaud ‘sanssi yedxe BulpueBes [ssoujim
jenuejog} lim sirewe eBueyoxe |
‘senss! yedxe Suipsebey uewueq Apuy yum sews abueyox3los'z 00'SZh LS 00'S 100'0Sz'z$ Ane ‘edrigo/sz/0b
‘gd
‘awes BulpyeGas adr] And ym 9oUE18JU09 ‘sesuodsa: Aancosip meiney|s2'} Sz e6e$ Sob SZ E6ES SOUR AA soho loorv2o1
Wd
“ewes Burpsebas adr And yj aoueiejUG0 ‘sesuodse: Aleacosip snoiaeid }09/]09 PUe MaIAGI ‘s}sanbal AIBACOSIP MOIAOH |GZ'Z IGZ°802$ Soe ISZ°802$ JOyeM ‘efor loorez01
‘Leyes ayesedes)
:senss} Areaodsip esemejeg Buipuebeu x04 pueioH YIM BoUsJajUOD auOYdele) ‘ewes BuIpseBes XOJ PUBIOY UUM BdUdJ9}UC0 SUOYde)e} ‘souesajuCd sneE}s JO} auedaiglos'o loo’szz$ SL'0 0S Lee$ Ang ‘adr L
“eues Bulprebes sekRW 15112 IRIM OUSJajU0N -senss| Ajancosip buipsebes
SJ@MOd LOSEP UUM S[lBWe abUEYOXe ‘uONIsOdap 10) UONBIedeld pue UOISOdsp jo Bulwy pue sanssi Au@acosip SuipreBes x04 puRjoY YIM sdUaajUCO eUuoYdale! los'o 100'SZ2$ 10S'0 00 Sze Any ‘ed 9o/Z L/OL
“ewes upuebo, X04 PUB|OY WIM SiBule ebUBYOXa :sisenbei Kiencosip MAIAGYIGZ O 0S Zee$ SZ'0 OS’ Zee$ And) ‘8d i90/9 0b
“UO,DUIYSE MA Ul Suedxe jenuajod WM Sbuljsous Ud]; UOISHOH OF LIMSLIOO P 100'008'1$ 100'P 100'008' L$ ANE) “edi 7/90/01/01
‘LHeyew ayeedes]
‘suadxe jeguajod um sSujeaw ul syedioied pue 40) ezedaug|o0'2 jOO'OS | ‘es 00's 00'009'e$ Ang ‘edij90/01/01
“sluadojeaap esemejag Bulpsebes x04 PUE|OY O} [ews oredald -sbulpeooold QJBME|AQ UO UOISIDAP JiINIID YYI4 jo edu! Buipsebal
JuBip UeUNG YM silewe abueyoxa ‘Yeyew ayeiedas] i0S'0 100'S2e$ 0S"). 100°S29$ Any ‘ednigosree
‘Jesunod s,deo jy Aq pepiaoud s8pso Buynpayos Jo yeup pasiae: BulpseBeu ues UROUNG YM sjrewe a6ueuoxe epio Buynpeyos
$0 BJP PasiAal UC YOM ‘aduale]UCO Bulinpeyos jo 1no Buiwoa senss! pue eoues8jU0o Buynpauss BuipseBe. JueBIE) UBOUNG pUe Z}ey II1G YM SeoUssa}U00 audyde|e} pur’
sews aBueyoxe ‘soueseju00 Bulinpeyas ul ayediomed ‘ewes BuipreBal JUBID URBOUNG YUM 8oUas8jU09 BUdYde]d} ‘@SED areMeIaQ Ul 89U819;U09 Bulnpeyds 10) auedarglos'z OO'SZL'ES OS 2 OO'SZL'ES Any ‘ed goveee
“ewes BulpieGar x04 puejoy o} |eWa yep ‘saunsoysip jegiul deg jy MalAaJ ‘oueS BuipseBeu ue5 UesUNG YIM eoUaJ8jU0S euOYdala} ‘Japu0 Bulnpeyos 30 Wesp Maid |OS'0 100'SZ2$ los" j00'See$ {np edn ponze
‘dg
“s}UsUNDOP puR UR\d Al@AcosIp pesodaid MelAdYIOS'0 OS ZSLS 10S‘O OS ZS1$ 102M sefenlooreue
“Jepso Buyinpeyos Burpsebe ess UeOUNG pue SIeMOg UOSEr QU silewe abueyoxa|sz'0 OS ZL L$ Szo OS ZLIS AN ‘adryj90/9 1/8
‘A
‘sapi0 Buynpeyos yeip uo sseiBod Jopuow ‘Isenbad Jualjo ye SJUBLUNDOP UOKONpO!d 912907 }Gz" | OS Zer$ is} OS ZEr$ uoser ‘esonaloaryie
¥
“Jopic Buinpayos uo xo4 puejoy Uj 89uUal9/U09 ‘[senss! UORONpoud JUaWNDOp] UO SIMO LOSEP YIM BDUEIAJU0DISZ'O ISL82$ isz"0 SL8L$ Joye M sokenbory Wve
‘ewes Buiprebes jued ueouNG pue ‘JexeW JOB ‘SIOMOg UOSeP UNM Siewo ebuUeyoXe ‘ewes UO SJUaWUICO eJedeld Japio BUlpayoS YIP MOIADH S20 lOS'Z11S Sz'0 los Zits And) ‘adrj90/ri/8

 

SUI USUI A S304

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 12 of 26 PagelD #: 2741

SIXT PSSSoIE g e8eg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘dW
“suononpoid yUEded JSOW! MAAS! PUR 198]/09 's]JUBWINSOP HYD oneness SZ bers GL 2 Go LeY'e$ Joye. ‘seXeW190/8/ 1 L
“sasuodses ABA0asip JO
SYBUP PesiAa) euedaid ‘sens! AieAcosip BulpueBel x04 pUB|OY UtIM 80U9/9}U09 auoYdale) ‘ewes BulpseBe, XOY PUB/OY 0} !eWa Yesp ‘sasuodse AUSACOSIP 0} SUOISIAG!
JEUONIPPE UO 40M ‘aimnsqns 0} UoROW BuipreBeu uesD UBSUNG YUM Siew ebueYoXe ‘senss| Ai@ACOSIP UO S4BMOg LOSES PUB qUBJE) URSUNG YIM siewe eGueYoxs fO0'r 100°008'1L$ 00'y 100'008'1$ {nd ‘edn }ooveyit
“uoHonsul SJeAey 1942 M Jad sjUaWND0P SWO pajeubisap asedalg 100" 100'SOL$ 81/887] ‘UOs183 (90/8/1E
‘Layew ojesedas] ‘Ww
‘suamsue A1sA0osip as|nel ‘voRINposd JO} S|UsUUNDOP }OaII09 'sasuadsai AuaACcoSIp pue ssaiBoid ¥ONDe1109 JUaUNSOP BulpueBe, ediq And pue JoAey J8)18 4 UM 18}U09|00°e 100'0S0'L$ 00'y 100 00h' L$ UOSEL ‘SIOMOGIGO/Z/1 |
‘da
“sjuawunoop ealsuodsel 10) sjueWNS0p Had MSlAad ‘LORONpad JO} sysenbes 0} asuodsas yeIp Mandl ‘AIBA09SIP UO SIOMO UOSEP pue adiq Ans WM aoUeleJUOD|9¢°S OS ZEL'LS OS'S loS'Ze2'1$ JOyeM “OARWIOO/Z/1L
“SeNSs! ABACOSIP UO JOM ‘SJUBLUNDOP
JO UORSNpaid 10) jsanbei o} suoNoeigo jo yep pasinas esedeud ‘eoyou UOISOdap 0} suonoeigo ssedaid ‘sanss! uojonpaid yuawnoop pur AseAcosip uo seAByy JOYE M
pure sueMod Uoser YM Bune U! aTediolyed ‘10) aedaud ‘ewes HuipseBes Qey |g PUR UBWIEG Apuy Oo} Siew YeIp Jadeney Jopessequy Jo} sjevoyew ajidwogloo’s 00'0Sz'z$ 00'S 100'0Sz'2$ And ‘adiqioo/z/ib
‘W
“ssaiBoud Asaacosip uo seAeyy 10112 AA Up JajU09 ‘ene ayesedes] ‘uoyanpeud 40) ysanbes 0} asuodse: yeugios'S 00'SZ7c'b$ OS p loO'SzS'1$ uoser ‘somortloor1
‘YW
“uon!sodap JO} UoNBIedesd S x0 PUBIOY 40) SJUSLUNDOP jeUOMIPpe JO} YOseAS ‘uONONPOId 40} sjsanbai 0} aalsuodsa: S]UEWNIOp Jo} sjUsUINDOP paonpold MaIAeH {OS'y OS LL b' L$ 0S'p OS'LiP'LS Joye vote lore
‘uowsodep Bulpsebes x04 puejOY ULM Ss}rewe ebueyoXe
‘Leyew ayesedas]
‘ewes BuipieGed x04 puro} 0} ewe Yep ‘suOISsnUpe JO) s}senbe: pue sauojeBouayul 0) siemsuUe jo SYeip jsuy SIedalg}O0'Z 100" 006$ 100° loo'ose' L$ Ans) ‘edn aovo/i4
‘dd
“MBlAAI SXO0-4 PUBIOY JO} SJUBLUNDOP pues Pur 1991109 {GZ"1 So LSGS SZ 4b [So 1ss$ Joye M ‘JOALWIOO/E/ 11
‘ewes BuipseSe: ueweg Apuy 0) eu yeup ‘uoVeredaid uosodap xo4puejoY 40} sjueuuNdop Bulprebes seAeyy|
JOYE AM WOuj ewe MAlAa ‘sonssi [Ssou}|M |BNUE}Od] BurpseBe, [ssouyim equaj}od) 0} ews yeup ‘ewes Burpee. xo4 puejoy 0} ewe yesp
‘sealed sinysqns 0} uogow maine ‘senssi UoRIsodep BulpieBal dea jy 40} }@SUNCD PUB JUBJE) UBDUNG YIM S//Bd eoUaJa{UOO U! ayedioned ‘10, evedaud ‘owes Bulpsebe,
LoAPW JOYE AM 0} eWa yeIp ‘uONeedaid UORSOdap 40) x04 PUe|OY OF Aiaayep 10 pazayyeb aq 0} sway! JO 3S! asedaud ‘uonesedasd UoNsodap 0} jueulad senssi uo WOM hOs'2 100'SZL'LS 10S°2 100'SZ1'4$ And ‘edrfoorest bk
Ww
‘oBuod ul sjuewnoop BulpseBa adr] And uM JaU09 ‘LON}981109 juewNZOP Bulprebas Weld YM puodse09 pue s8jU0DI0S'0 100°SZ1.$ 10S'O 00'SZ1.$ uosep *SIeMOd [90/Z/E}
“senss! uoMSodap Bulpsebad |asunod s,ded jy UIIM Sjfewe ebUEYoXe
‘uontsodep jo adoos puke uORed0} UO ayeU 0} Sjulod Jo auiyNo azedaid ‘senss! eA0oSIp UO yom ‘senssi yedxe BulpreGes ueuwag Apuy um sews ebueyoxylos'z l00'Seh' ES 0S'2 00'ScL'LS Any ‘adiqjgo/e/1t
“pa}s9]109 aq 0} s}JUeWNIOP UO LUNPUBIOWEW Gsedeld ‘uOnUs}aJ pu LORSe]|00| ‘Ww
WewW-S UO SUBIPOISND jUeWUNSOp Jo) WnpueJOWeW eedeld ‘ssemsue Aleacosip GuipreBe x04 PUBjOYy PUe UES) LIM SeoUAalayUOD aUCYdaie} ur ayediomed pur 10) sedaig|oz-¢ 10S'Z99'LS SLY 0S'299'1$ UOSEP ‘SIMO |GO/4/EE
“suoysodep SuipseBas sseuBoid Ul 10M MaIAaHIOS'O 00’ SZES 10S°0 l00'Szes xOU> ‘AWBUUNNISO/E/EL
‘d
“ssauaaisuodsal 10} SITE Payeje Lou SJUBWUNDOP peonpold MalAal ‘Senssi UoNIsodep pue Al@A0OSIP UO SIoMOg LOSE? pue ‘adi ANd ‘Wuel|a YAN SOUSIBJU0D IOS’ p OS ZLP'LS OS’? OS LPL JOVEM safer fpori/u4
“sesuodser AaAoosip uo ysOm ‘ewes Burprebe2 Jue1D UEOUNG YIM sleute ebueysxe ‘uonsadap|
40 UOIJBDO} UO YdJBESe, jo S}NSed MaIAaI “XO.4 PUBJOH JOy UONBJedaid UONIsodap 10} sjueNSOP jo Buyeyyeb uo om ‘awes BulpreBer SJOMOg UOSEL YIM SIBWa
a6ueyoxe ‘uonuajel pue Buvepeb jawnoop SulpueBes sioMog uoser Aq payesp wnpuBoWeW MelAGI ‘sanss) {@AODSIP UO |/29 89U920jU09 LI ayediomed 10) oredaug os py 100°S20'2$ OS > l00'Szo'z$ Any ‘edrigo/t/tt
‘Ww
“awes BuipreBas adiq And uym seju0d ‘sesuodse, Guluueid ulBeq ‘ssaded Areacosip MOIAGH IOS | l00'Szs$ Os} 100'S2es$ uoser ‘somonbooneo1
¥
“ssauanisuodsal JO) SuaeW pejejel Waa) S}JUSWNDOP peonpaid maiAey|og'S O0'SZS'LS 100°S 00'SZS'1$ Joye M ‘JOARWIOO/LE/OL
‘senss| Aiaacosip Buipsebas Z7e> Ig pue ‘UeUEC ApUy ‘SIMO LOSE KO publoy YIM seduebyoxe [lewe pue Sdouelajuco sudUdeleLlOS 0 100'See$ 0S'0 100'Szz$ ANE) ‘8017/90/14 €/0 |
'W
‘sOulpeajd jeedde majaei ‘owes BuipreGou sake; Joye Ulm 29JU09 ‘sisanbas AisAcosip azAjeue pue moiasylgz'z 0S ZEZ$ Is2'2 0S: 292$ uoser ‘sIaMOg|90/0E/01L

 

SUPA UOSU A S20

 

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 13 of 26 PagelD #: 2742

SIXT #SSs9le g a8eq

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

W
“uOoRONpoJd JO} SJUSLUNDOP Jo UOROEI|O9 eyeUIPIOND}OS'0 (00°SZ1$ 00 00'S 1$ uoser ‘sionoa bors L/LL
‘gd
“AIBAOISIP MBIABI PUB JOEI|09 !Peesp q 0} As@AcOSIp UO adr] AND YIM souasEjU0D|Gz"| jsz'1ss$ SZ'L iSsz1ss$ JaYEM safes Wh
‘awes Bulpuebe: siamo UOSer YtIM SeQUaJEJU0T aUOYyda|a} pur SadUaJaJUOS ‘Sensst
ueRonposd jUawWns0p UO OM ‘uOIeJedeid UORIScdap UO X04 PUE|OY YIM @0U818j00 enuNUCO ‘senss} jenve; BulpreGe: siaBpoy uoseys pur xog purIOY YIM Joow
‘uonevedeid uolsodsp BulpueBes x04 purjoy YyIM Seoual9jU00 Li BJedioed 10) esedaud ‘LYayeu ayesedes]
‘eures 0} esuodsai pue saiued aymsqns 0} uopow SulpueBa, xog puejoY oO} /eWe yesq|oo's 100'0Sz'2S 00'S 100°0S0'rS And ‘edroo/S b/ bb
Ww
‘XO4 PUBJON UIIM S]JUBWNSOP jO LONONPOI pue UONDSI]09 aYEUIPIOND |O0' |} 100'0SES 100}. 100'0SE$ uoser ‘sionor ory bE
“Samed ajnysqns 0} UOOW! o} esuodse: esede.d ‘senss; uonesedeid UoHIsodep pue UuOonNpos
jUSWINDOP UO x03 PUR|OY UM s6uReow u! ayediomed ‘10) aedaid :sonss! [sseuyim [equajod) 5urpreBeu [sseuym jenusjod] uum seus aBueyoxaios'9 00'Sz6'z$ 0S'9 100°S26'2$ And ‘adqjoo/p itt
‘W
“senss} Burpuejsyno BuipieBes adr And ypim seJUCo ‘sesuodsa, AI@ACOSIP JO BdIAI9S pue uononpod eyeu!ps009 ‘Bully 10; sluawNoOp azIeUI4IGZ°0 los z9cs iSZ'0 los ‘z9c$ uoser ‘SIBMOGIDO/E L/L EL
¥Y
‘JE] /eYIWsuey} yep ‘sesuodsas AGACOSIP MAIAGHIGZ’ |. SLE6E$ Sok SZ e6e$ JORMA “OAR IOO/EL/EL
“awes Burpuebes
Jakey 102M O} [RUE Yep ‘uCgesedaid UONISOdep 10; asedaud ‘senss) pedxe Gulpsebe: ubuueg Apuy YM sea eBueyoxe ‘ssoueje|dwod 10) s1usuuNd0p UOQONpold
M@IAGI “SJUaWNDOP UORSNposd pue sasuodsad Alencosip jo eovues BulpseBas ene} M 10d WIM sjlewa aBueYoxe ‘sesuodsas Al@Acosip jo suOIsIaA Jeu auedasglos's 100'SZp'z$ loss 00'SZ¢'e$ ANd ‘ed QO/EL/LL
Ww
‘aures GurpreGe: wee} YM 19jUC0 ‘uoNONpoud JO} JeS JUalUNDOp ayedald pue 'BSIAGI ‘MeIAG. ‘JUWILOD JO} ByEINIUID pue sBuIpeald Aieacosip esinaylez-y 0S'z99' 1S S2¢ l0s'z99'1$ uoser ‘exonce avout L
‘d
“suo9e[g0 Jo adoos JO} SUOIUNSp Pure SUONONSUL M@IA@l ‘UORONPOsd 10} SjUEWUNDOP Jo 19S EZI/eUl} PUB MOIADHIG/‘E SZ Let bs SZe So LBL'tS Joye ‘“eKEWISO/OL/ LE
“senss| uonisodep Hurpuebes ueuuag Apuy YM siewa aGueyoxa ‘suoissiwpe 40 sjsenbai 0} sesuodsas BurpseBa ueWuag Apuy 0} [ewe yeup ‘sjuauinoop
JO uoRONpoid pue sesuodsa, AlsAcosip jo uOQeZIeUl} JO) sway UOROe BuIpueys}no BuipueGas seAey 4901/2 A pur SIEMOg UOSEP 0} |fewWe Yep ‘awes BulpueBe xo4 puejoy
0} [ewe Yep ‘eonou UORISOdap 0} sUODe[go puB UOKSNpad JO} jsanbai OF Sasuodse! jo RIP pesiags aedaid ‘oRonpoud 104 sysenbeu o} sesuodses uO x04 PUue|OY
WOJ} SJUSWOS MaAGL ‘SIoMSUP AC}eBouE}U! BuipreBas Jabeg IWaAy 0} {JEL YRIP ‘suOIssIUupe JO} ssenbei oO} sesuodses pue slemsU Aoyebouequi esines soyynyos'e 100°SZS'1$ OS'S 100'SZS'LS An) ‘ed j9o/04/tb
“UONONASU! SIBMO UOSEP Jed SJUaWUNDOP SWD payeuBisep auedalgoo'z 00 OLZ$ 00° lOO OL2$ aljsay ‘Uuoyeg Lovo L/L E
‘W
“ssaiBoid u0j}09]/09 yuawNdop Bulpyebas saARW Jay}2 MA UIIM JaJUCo ‘Sasuodsad AJ9AOOSIP eSIAA! PU MaIABY|O0 | 100'0SES 00" L i00'0Se$ UOSEP ‘SIMO |90/6/1 b
‘souoyeBouajut BuipseGes ssozBoid ul Jom AN@ACOSIP MAIASYIG7Z'O OS ZOL$ isz'0 1OS'294$ XOUY ‘AJJBUUNN 90/6/14
‘d
“SIUBWNIOP ANN Pure sjusWINSOP psonpold matey |cz'9 Sc OZb'2$ slo ISZ'921'Z$ JOYEM “sekewho0/6/l 4
“ewes Butpieba2 xo4 PURIOY 0} EWS yeEUp
‘OWES 0} SUOISsIAa! asedald ‘owes BuIpseGas xo4 PUB|OY LIM soUsejUOo suCYde}9} ‘ewes Bunioddns uoyesejoep pue suemsue AioyeBoueyl! jo yeap poesia: asedaig|os Zz 00'SZLIS 1OG'Z O0'SZI' lS And 'odi7/90/6/1
“UONONUISU! SJaABW Jaye M Jad sjueuNsOp SWO pareubisap eredaigjos's 0S°'2/S$ OS'S 0S'225$ 3807 ‘wore sloors bL
‘W
‘sses6oud uopanposd pue U0}9e1/09 JUaLUNDOp Jo}UOW ‘aofoU UORIsOdap 0} SUOADElGO es!Ae1 PUR MAIAGI ‘UOONPazd 104 senbal 0} sesuedsal UO sJUBUULWOD MBIAO}y|SZ"L 0S’ ZEr$ Sz. OS ers uoser ‘exon looye/t1
“snyeys Ki@Acosip MaIAGHISZ'O 0S'291$ iSc'0 lOS'e91$ xouy ‘A[/BUUNN, Eb

 

 

 

 

 

 

SUIYIT UosUIA S204

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 14 of 26 PagelD #: 2743

STX'Ipsssole 1 28eg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘Yd
~Spuocei Bulllig Hepes pue Male. !sanss! UONONpoud JueWNoOp BulpseBas sIEMOg UOSEP YIM BOUGIBjUOD ‘UOIONPOl JO} SJUELUNDOP 5x04 PUE|OY WeWlos'z IOS’ Z8z$ rE OS’ ZOL'LS JOYE sekerbeoses
“senss] UoRSNpod juewNoop pue UONisodap Buipsebal SiaMOg LOSES PUP JULI UBOUNG WIM silewa obueyoxgloo | 100° OSr$ 100" L 0 0Sr$ ANd ‘adii90/Sz/t
*sanss! uoNoONpod JuauINDOp puke UOlIsodep|
BuipseBes suamog uOser puke "jueJE) UBDUNG ‘URUEG ApUy ‘xo4 pUejOY 0} sed yep ‘senss) uonisodap BulpseGe ue\dey vay YM Boueseju0d BUCYde}9} ‘senss!
uontsodap SurpreBe: uejdey ey 0} ewe azijeUy ‘sanssi uoIsodep BulpreGe: siomog uoser pue ‘ueuag Apuy WUBIN UBDUNG ‘X04 PUB/OL WO SEW Mae 100 Z 100'006$ 100'Z 100°006$ Ang 'edi}90/r2/ 4
‘senss] uoisodep Bulpsebes siemog UOSEP PUP JUBID UBOUNG O} S\fewe yelp :Sonss! vonisodap Buipsebes xo_4 PURIOH UJIM @oualajU00 sucydelal los O lO0'S2z$ 10S'0 L00'Szz$ And ‘adr yjoo/eesit
Ww
‘Buyynpeyos uonisodap Bulpsebes sesuasajuco eucyda|s} ‘sjueWNIOP Jo UO}De1|09 BulpseBe: x04 PuE|OY UIIM J8JUOD ‘SWa}! UONONPOd Jo UONDA]|09 ayeUIPIOOD|OS' | ioo'szs$ OS’ l00°SzS$ uoser ‘sioner ooei
‘d
‘uol}ONpoud 40) s}UeWNdOP J99/]09 pue MalAal ‘[sanssi aBejiAuC] Yueesey loss OS'ZOL' ES ose OS'Zor'ts JOEM vesetborzz b
‘sensei eBeylaud BuipseBes Bu0d epuBsIW pur Jekeyy Jaye
WM sjrewe eBueyoxe ‘uonisodep Bulpsefas uejdey Uay ©} jfeWe yelp ‘awes BuipreBe: s1aM0g UOSEP YM SlleWa eaUeYSXE ‘senss! UOONpoOd JUSLUNDOP UO YOM
:sanss! uon!sodap Bupsefei ueidey uey pue ‘siemog UoseEr ‘JUBID URSUNG 'XOJ PUB|OY WIM Sa0UAJ9jU09 sUOYdajal aidiyinu ‘uoNsodap 07 Bune|es sanssi Uo WopAlos’e O0'SZS'LS OSE 00'S/S' LS An ‘edri|go/ee/ib
‘S$ ur]
‘sanss| aBajiaud sulmexe pue SJUSsWINIOP YOUaL |EUONIPPE MAIASYI0S'O 100'0¢1$ jos"0 00 021$ repuesw ‘Buogiao/ee/1L
‘Leyew ayeedas} W
‘SaNSsI JaYIO pue UORIsodap aAejuasaide: oye10ds09 BulpyeBe: edi] And YM SeduesejUO9 ‘sanss! uoVoNpoud qeuncop BuipseBas seAeyy seye AA uM J8ju09/¢7'0 OS‘ Z9Z$ 1001 loo'OSes UOSEP 'SIOMOIO0/LZ/L
‘Wd
‘ewes Bulpsebes SieMOd UOSES YIM 89U819}UIC9 ‘uOHONPaud JO} JUS!}O WO SJUaUUNDOP MaINsH ISL SZ e2'z$ SoZ SL €87'z$ Joye M ‘“OARWIO0/1Z/Et
‘ewes BulpseBad x04 pueloy pue JUeID) UBOUNG UWIM SeoualejU0O aUGUdale} aes
luonisodep Burpnjour 'senss| A@AOoSIp SIBMEJaq UO YOM 'XO4 PUBIOY PUe ‘NEY Itg ‘Ueuueg Apuy ‘sedeney Jopessequiy ulm eo eoUe78jU09 Ul ayedinued ‘10) aredesglos'e lOO'SZS'1S OS'S 100'SZS'tS And ‘edmfoos1z/bt
‘sur
“sjuswindop uleyed YM abeliaud Basse um sanss| jeyuejod azAjeue ‘eBajiaud pue ssauanisuodsai 10) sjueINOp YOUal4 MOIAG YOO" E 0002S 100" } 100 OFzZ$ PPUBIIN ‘Buopeo/iz/i1
W
‘sjusuinsop Aiaaocosip BulpueBeu Jakey J0}8 M YIM J9jU09|05°0 100°SZ.1$ 0S'0 00°SZ1$ uoser ‘eroner pape Ib
‘d
“wononpoud JUSWNdOP UG S1a@MOd LOSEP UM 80U818JUOD ‘UONISOdeq JO soHON pu ‘sevoyeBouey] ‘UOONpPog Joy Jsanbey SzyeUN pue OSIAQH|S/°E SZ UBL LS SZ GZ LBL LS JOUR AA seen bovo2/s1
WY
‘seuoyeBouejuj pue UONONpold JO} s}senbey Yeiglos'z 0S 'Z82$ 0s'e 05-2825 Joye Aa ‘JOAPWOO/EL/LL
‘d
“seuojeBoiajuj PUB UORONPOI 10} s}senbey Yeiqlos'y OSZLP'LS os’ OS ZLP'LS Joye ny ‘sakey Lébb
‘Ww
“uononposd jenuEyod 10} sw@WNDOP JO UONIA/}O9 aYeUIPI00D|SZ'0 0S 'Z8$ Sz'0 0S’ 28 uoser ssronotboo VLE
‘d
“sysenbai Ai@acosip yeip ‘deo-jy Aq s6ulpeaid manay|sz'y SZ'96y'1$ SZ Isz'96b' L$ Joe A JAAEWIOO/Z1/Eb
"X04 PuBI|OY Pure [SsouM |eqUa}od) 0} SJBUS}eW JO UOISSIWSUBN O} PUBRY]SZ'0 OS Zi LS iSc'0 OS Chis ANd ‘adryigo/Zb/b 4
Y
‘Kieaoosip jo yeup uiBag ‘deg-dy Aq SumeI9 MatAGHj00'E 100'SP6$ 00° 00’ S6$ Jone MA Joke WEL
“‘XOJ PuejOY pue [sseuyM jeNUsjod)
40} SyusNdOp ajidwoo ‘eyew oyesedes]} :SeNss! UONONpod jUaUINSOP pue UONeJedeid UOMISOdep UO xO4 PUEIOY
UYM 89U9s9jU09 aNuUNUOd ‘[sseUyIM feIUE}Od] &q pessaippe aq 0} sanssi [sou (equajod] BuipueBas xo4 puejoy WIM e9u919jU09 pue
uBwuag Apuy YM sousiajui0s auoYde)s} 'senssi [sseuyiM jequajod] Buipuefies xo4 puejoy UM SeduelejUCO pue [SSEUM [B]UB}Od]
‘sared ainnsqns oj UONOW 0; esuodses Jo Bur)1) BulpueBe, Jue5 URSUNG UM sIleWa eBUBYoxe ‘senss) UOHONpoid quewndop pur uolesedeld uonlsodap Uo YO MAI00'S 100'0Sz'z$ 100°6 100 0S0'r$ And ‘adr ]S0/Ol/11

 

 

SUIYTY UOSUT A S934

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 15 of 26 PagelD #: 2744

SIXT psssole gate

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ww
“suonenoBeu/eyndsip Auaacosip BuipreBes adr And um ajucd puke 10} eedald 00+ jose 100" } 100’ 0SE$ uoser ‘sxomorlooreet
‘franew eyesedas} ‘ewes BuipseBex ediq And WM YW
Soue22jU0S ‘aouepuodsei0o pelea: pue Woda, yodxe malaal ‘[s1S0o pue AJLNDES 104 PUO OF Buyjeje: sanss} Aseaoosip]) youResey 0s’ z 10S'282$ 100'E 100'SH6$ Jaye AA ‘ekRWIOO/R/Z1
‘yedxe uz se Jedneey pineg jo jeaoudde sjuawyedag eels Bulpiebes x04 PuRjOY pue ues Apuy uM siewa abueyoxe ‘ded jy 0}
s}senbeu Aaaoosip puke eyniysans 0) uo}ow Uo Jepio Bulpuebes x04 PUBIOH 0} sreWe YEIP ‘deo jy 0} sisanbe: Aleacosip esedaid ‘aynyysqns 0} UONOW UO JapIO MOIASHHOS'S 100'SZp'2$ OS'S 100°SZ¢'2$ Any ‘adiqfoo/e/21
‘Ww
“youBes [tew-9 BuipseBas x04 puRjoY UyM 19}U0DI/Sz'0 10S" Z8S iSz'O 0S'28$ uoser ‘somo boouse1
‘podau [Ssaulim fenusjod]) Buipsebai xo4 puejoyy 0} [ewe yep ‘enews
ayeuedes]
‘sanssi Aueacosip BuipyeBes siamog uosEP YIM SeWa abueYoxa ‘sonssi [ssou}IM reguajod) Buipze6Beu [sseuym jejusjod) UY sjiewis sBueUoXa{0S'0 100'Szz$ LOO L 100 0S¢$ Any ‘edrao/z/er
‘W
“youees juewnNdop BulpreBes x04 PUB|OY YIM JejUCd ‘owes BuIpueBas Jakeyy Jae AA UM J8JUO9 puke Sensst 6o; aBayiaud meiney}0s'0 1O0'SZLS iOS'0 lOO'SZLS uoset ‘SIaMOd J90/O/ZL
“senss! uojonpoud Jueuinoop Bulprebal SisMOg UOSEP WIM S[leWie OOUEUOXS [6c 0 0S ZL 4S isco OS'ZL1$ And ‘edry Vel
UOA MAN U! Jodneey piaeg UM SbunesW WJ) UOJSNOH Oo} MEH OOP 100'008' L$ 100'7 100'008'1$ And ‘adr fh.
‘Loyew ajesedes)
USYSPUNY I@YOIW Weer puke 'xo4 puBjOY ednsey pineg ym sGuneow ul oyedionsed uednaey PIAeG LBM WO, MBN Ul SujeeW Ul ayedioned ‘40, sueda:glos’6 100'SL2'¢$ 00°01 100'00S'p$ Any ‘edrijeqys/et
UO, MON 0} SUBI} Ul SUSE 10} aiedaid uadneey PlAeg UPI SDUIJOSLL JO} WOA MON O} [ABIL OO > 100'008'1$ 100'P 100'008' L$ Anz) ‘edit oor/p/2t
“UOPUCT Ul UONISOGEP OOBWON SND Wd) UOISNOH OF WINIOH100'Z 1000S l'e$ 100'Z joo'ost ‘es Ang) ‘adrq|g90/L/2b
‘Jayew eyesedas)
‘senss| Aeaoosip Uo ue|dey Uay UjIM J8JUCO ‘ueUUEG Apuy pue xo 4 pUR|OY
UY SeoUaJeJUCO ‘uOT|sOdep xXO4 PURIOY PUETE PUR XOY PUBIOY LYM 8UE8s@jU0O ‘UONBedeJd UORIsodep jeUl) J0j XO4 PURIOY YA UOISSNISIP JaUUNY JO} Sanss! AyUSP}}OO'ZL 100'00b'S$ OO'EL loo'ose’ss Any ‘adirqf90/O€/ | 1
W
“senss) uoRSNpoid jew-a Buiprefes Jekey 18112 M WM J8JU09 ‘smye}s BSED UNDO eye}s pue AJ@ACOSIp UO SHUI BulpseGaa juerg ueoung pue ediq And yum 494U09|Se"1 OS 2er$ Sz’ k OS Zer$ uoser seroma booez/t1
‘[senss! Ho
Aaaoosip] uo Jey8| UosuIgoy aBpnr 0) yasu pues pue yep 0} [sjusWNsep] MOIAOH {SZ | SZE6ES Sok ISZ'e6e$ Jaye MA ‘SAB (90/62/11
‘uolsstwans Asacosip jo yep asedaid ‘Suipeasoid asemejag deg jy Ul ouela}U09 AIQAODSIp » Jaquieseg 10) uoissiwqns Auaacosip [Leyew ayeredas)
BuipreGau jue UeoUNG PUR SI@MOg LOSES YIM $80U918jU09 SUOYda|a) ‘UOI!Sodap Bulprebas ueuueg Apuy pue
XOJ PUBIOY UM shuyseU SNUNUOD ‘UE;dey Uy 0} s]UaUINOOP UORONPoud Jo Asaayap 0} puaye ‘uonisodap Buipuebe xo4 purjoy yy sujeew 10) uoQesedeld SNUNUODIOS OF O0'SZZ'P$ OO" LL 100 0S6'r$ And ‘adr 90/6Z/t b
Ww
‘senss! shulpeeid Aiencosip pue ewes Sulpseies adr And ym J9jU09 ‘sjuaWNdOp jo UORONpold jeyUaWa|ddns axes pue jo uoNBsedald ajeuspuceg ion’ 100°0S0'L$ 100'€ 100°0S0'1$ UuOSe 'SIOMOg 190/82/L L
“sanss} Aieacosip BuipueGel syaMOq UOSEP Y}IM BOUGIajUCO SuoYdease})
‘uonsodap BulpreGex xo4 puejoy um s6ujeow 10; Buuedeid ys0m enuQUOO ‘uoulsodep BuipseBes xo4 puejoy YM sBueew enuUOD ‘owes BulpseBes SIaMOg UOSEL|
UM Se9u8J2jU09 auoYdee} ajdainw ‘senss) UoRoNPoud jUaWINDOp pUk LONIsodap UO yom ‘UoNISodep BuIpieBad x04 PUB|OH UM shuneew ur ajediojed ‘10; aredaiglos th 100°S21'S$ iOS’ LI 100°S41‘S$ Any ‘adrqieo/e2/tt
‘d
“suoHoNsul SJeMOg LOSES Jed SJUBNDOP jeqR} sovsahe-z 10S £81$ 0S'c 0S 2815 BULL ‘UOSUYOrIgO/Be/ |b
“sanssl Sole Ww
pur uononpowd juewnoop BuipyeBes adr And um sejuoo ‘uonisodap BuipaeBes jasunas Buisoddo YIM puodsecs ‘s}uaWNDOP jo UOHONpaud |RjUeUIe|ddns ByeUIPICOD|Gz"E OSs'zle'kS SLE OS cle'kS uosep 'SIBMOd|90/Z2/1 4
“senssi [yedxa] GulpseBas [Ssauym jenusiod]) UUM 80UaIaJUd BUCYda|d})
‘uonisodep BuipueBes x04 purjoy ym sBunseu jo Aep yxau 40) auedeud ‘sanssi uononpoud quewnsop pue uonrsodap Burpsebe, suaMmog UOseS YM SedUuala}U09
Suoydejey pue sebueyoxe ewe aidiyinw ‘sanssi uojonpaid juswWNoOp UO yJOM ‘uoRIsodep Buipyefies x04 PUB|OY YUM SHunseu ‘uoNsodep io) uoMesedaid aNURUOD/OO LL l00'0S6'b$ 001} 100'0S6'r$ Any ‘9dr }90/Z2/b 1b
“YOPUO’) 0} B}NOI UI BILM UOISOdep DulussoUOd XO4 PUBIOY WIM SHURSOUI JO} esedelg|00 Fy 100'008'1 $ 100"? 100°008'LS And ‘Odi 1[90/Z2/b |
‘d
"SUONONSU! SIMO UOSEP Jad SJUQWINOOP jaqe| Se1eg}o0'r 100'00e$ 100’ 100 00ES eu wvosuyeebonzn b
“YSUB Ul BUM UOPUOT Ut UONISOdep Burpebel x04 pue|OY YIM SBuljeeul 10) asedaid -UOpUT O} jeAe.) ‘UOMSodep 10) e120914 1008 100'009'E$ (00'S }00'009'e$ ANd) ‘adr 0/9e/ LL
“snje]s WwW
uoyonpoid uo edi And ajepdn ‘senssi uojoe{go UoNSodep UO JWEWWOS PUB MBIAGJ ‘OURS UO JWal|9 WO} SJUBWLWOD pu UONONpoid 40) payeuBlsep sjueWN0p MOIASY S27 0S’ Z8¢' lS Ser OS Ler LS uosep 'SIOMOd/90/SZ/E

 

SUIY[A UosUA soo

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 16 of 26 PagelD #: 2745

SIX'Iesssore 6 28eg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘sury
“sjsanbe. JUaWNDOp O} ssaUeAlSUOdse! 10} YOUSIA UL SJUOWNIOP MaIAdH|SZ°0 SLELSS S20 ISZ'ELZS epueiyy ‘Buoy |/o/eyt
Ww
“Bo1NeS 10} esedeld pure Boj abej/aud azireul4l0s‘0 100'SZ1$ 0S'0 jOO'SZ1$ uoser ‘ssamod|90/6c/el
Ww
“aouspuodsa1i0o malas: ‘Bo] aBayaud asiaay|o0 | O0'0SES 100" L 00 OSes uoser ‘SIEMOd190/8Z/Z1
“Senss| MAIAS. [EWE Oulpsebe, BAIS BUSEJeN pue ‘AoveD uos WN
‘H@WUye2 M UBL UM 19)09 ‘pamalAay eq 0} SjuaWNoOp Burpiebes Buod BpURsWy YUM 10]U09 ‘uooNpoid [eAUajod 10} sjuauNZOp ;eUONIpPpe Matnai ‘60| aBal)Aud as[Aay {GZ OS'ZLE' 1S Sze OS'ZLELS UuosEef ‘SIOMOg/O0/ZZ/ZL
‘sun
“uonoNPoid 40} sysenbai Oo} ssauenisucdsal 10) YOUSJY UI SJUSWWNDOP MolAaH|Sz"2 l00'0vS$ is2'z 100 O”S$ epuesiW ‘Gu0p|90/2Z/e4
‘W
“senss! Go; aBayaud Buipse6a, jesunco tim puodsaioo ‘sjuaWWOS YIM a~eS B]2/NIIID pue UE{dey WO} BoUEpUOdsE.ICD MalASYlOS'O 100'SLL$ ioS'0 loO'SZ4$ UOSEL ‘SIMO |90/ZZ/EL
WwW
“sJUaWUNDOP UORONPold Jo UCNesedasd ANuyUOS ‘}esuNoS deg-jy UWIM eDUSJEJUOD aUOYde|9} Ul ayedionJed pur 40) a1ede1d }00'Z 100'00z2$ 00'Z i00'002$ UOSEL *SUEMOd|BO/LZ/Ck
‘WwW
‘jesunoo Bursoddo 0} sepa] soUalajuOo AieAcosip yep ‘uOHONpoud jeyualod 40) sjuewNoep veneulec'e OS ZEL'LS ses OG ZEL‘LS uOSef ‘SueM0d}90/0Z/ZL
‘sur
“"YOUSI U} SJUBLUNDOD JO MBIASZ UM ISISSWISZ'O 10009 S70 100'09$ epueayy ‘Buon 9o/0z/el
‘W
“Heo uejdey Bulprebea x04 puejoy WM J9jU09 ‘sanss! Aienoosip Bulpse6es uejdey Uay YM aduela}U0o suoydays} ul syedioed pur J0j asedaigi¢z’ | OS ZEr$ Sob OS Zer$ uoser ‘esonerto06 tfeb
‘ewes Bulpeba: ue|dey uey o} [ewe yeup pue UOReULOJLI |eUORIPpe
Jeyjeb ‘yoda sadeey 10) paysanbay sjrejap jevoyippe Suipseba, uejdey uey) Woy jrewe Meatvad ‘suONIsodep yedxe Suipse6ed uesD uesung UM sjlewe ebueyoxs|sz’ 1 0S’ z9s$ isa'b los 2os$ Ans ‘eds Met
‘ewes bulpsebeu wee} 10 sa pue ‘UeWag Apuy ‘xo4 pUeIOY 0} S|IeWe Wes :Odal ledxe $,deq jy MaMOH|SL O 10S 'ZEES iSZ'0 los Zee$ ANE) ‘OdI1/90/r Leb
Y
“owes BulpseBas siomog UOSEP YUM BOUBIA|LIOS ‘UORSNPOsd 40} senbey JueUND 0} SseusA!SUOdSAL JO} SjUaUINDO paflelAUd MeAaYlos‘e OS ZOL'LS lose OS ZOL'LS Joye My ‘JeABW Lore Wel
‘yoda, pedxe jo soies Burprefes jues5 uesuNg YUM silewe eBueyoxe ‘ode: yedxe Auedwoooe 0} aouepuodse0D ezieuy
‘owes BuipieBai uejdey vey 0} |reWa yep ‘awes BuipseBes x04 puejoy 0} eWe yep ‘ewes SulpreBad eID ueoung YUM silewa eBueyoxe ‘sjuawajddns 9 0) ance}
Jo} suojow asedaid ‘uarsioap yiNdu19 UY!4 Aq pasie: Senss! sseuppe 0} Bulpeeooid ynos ArsoueyS pur Buipeacoud juowUsiWe6 u! SJOMSUP O} syugwajddns asedaig |S" 5 OS '29s$ 0s'z 100'SZL'1S Any ‘adr Lfel
Ww
‘Jasuncs ded-}y UM aouas3jU00 AueAcosip ainpayos ‘sanss! jusluNoop Bulprebas x04 PUE|OY UM JaJUCDIOS'0 lOO'SZLS os'0 O0'SLES uoser ‘sovosborwe!
‘Y
“UOHONPOJ JO} JSenboey JueLNd 0} sseusAisucdsal JO) SjU@WINDOP ofaylAUd MaIAeHIOS'S OS'2E2'1$ OS'S OS 'ZEL'ES. JOYE M ‘JOABWIGO/Z1/Cb
‘ewes Buipsebe, uejdey uay ujIM siewe eGbueyoxe ‘eullpeap yedxa|
JO uojsuayxe Aep auc BulpreBed x04 puejoy pue ‘ueWweg Apuy ‘Jue/D UBUNG ‘sepuNeg Apues ‘ueldey Usy YM Se0UelajU09 auoYdeje) ‘yoda Yedxe jo uoIssigns|
BulpaeBe: ued ueoUuNg YIM s}ewe eBuRyoxe ‘yoda yedxe Auedios220} susWUNZOp Jo UO}e|IdWOD jo uolezi|Puly Oo} puepe ‘ewes BuipreBe, seueysjeyy MespUY WIM)
stewie eBueyoxe ‘yode, wedxe uM UORONpoud Jo) sjuUeUNdop s8Uye6 ‘sanss! LORSNpoOJd JuewWNoOp Bulprefe: 1eAeW JOYE AA pur SIOMOg UOSEL YIM SyeWe aBueYyoxalos e 100'°SZS'ES ioS'€ 100'°SZS'1$ And ‘edrifoo/z zk
W
‘saindsip Aueacosip BulpreGes jasunos Bursoddo joeju09 ‘malaa BBarlaud Jo ssesBoud soWUOWI¢z"0 10S '28$ Is2z'0 ios 28S uoser ‘srome bon Wet
‘owes BupueBas jues5 UBOUNG YM seWe eBuRYoxe ‘odes pedxe Auedwiocoe 0} sjuewnzop Bulpsebes Jowlsysjayy Meupuy pue UBWEg Apuy qu sjrewe ebuReyoxe
‘owes Buipsebeu sana] jenjwsue.y pue Yoda: Auedwosge 0} sjuewNo0p pue Lodes sednaey SulpseBas ued URSUNG YIM syewe eGueyoxe ‘s}senbes Aeaossip
jo aoiues BuipueBed juBId URUNG YIM slleWweeBueUoxe ‘s}senbeu LaAcosip 6z}/euy pue asia: ‘deo jy 0} sysenba. Auaacosip BuipueBes xo purjoy um sews
aBueyoxe {sanssi jdeg ayes] Ssauppe 0} yoda, Wadxa 0} voNIppe GuipreBas Jadneey pIAkG ujIM eoUasajU00 auoYdala, los'z OO'SZL'IS los’ z 100'SZL'LS Ans ‘adrfooyt iW/2l
‘dW
‘ysanba, JUaLUNSOP JUeUIND oO} aaIsUCdseZ SJU@WINDOD 40; SJUaWNDOP paGajiaud MIIABHIGZ'O Sf 9EZS G20 Sc 9EcS JOVeM satertbon Lich

 

SUTY|Q UOSUIA S33,J

 
2746

05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 17 of 26 PagelD #

Case 1

STX'IPSSSOLE 01 o8eg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Uueweel6e Aljenuepyuocs pesodoid Buipuebau ue\dey
Usy 0} !eWe yep ‘senss! AieAoosip jew Bulprebeu Neg Bye/D WIM S}eWa abueyoxe jueWeel6e AyenUEpyUCS BurpseBe, JueID UROUNG oO} BWe yep ‘jUaWwealBe,
Ayyequapyuoo BulpreBed sakeyy Joye M WM BoUaIaJUOS JUaWealBe AyyenUEpyUuC. Burpuebies saAeyy 28172 AA WIM SHtewWe oBUeYOXe ‘juoWUse/Be Ayyenuspyuos Bulprebes
uegidey vey wo, jee MolAel ‘eyew ayeuedes)
‘owes BuipueBes yur!
ueoung pur ‘siaMod UoseP ‘UBWUe ApUy ‘x04 PUB|OY O} EWE Yep ‘suoN|sodep Sulpreba ue|dey use» 0} ewe jo yelp evedaid ‘senss| Asenoosip BulpseBas URWEG
Apuly pu® x0. puejoY UIIM 1129 eouEsejU09 U) JedionFed ‘10} osede/d ‘Leyew eyesedes] 100' | 100 0Sr$ OOS L 100'0Se'S$ Any ‘adi {Zz 0/0L/b
‘sun
“sa10ye60191U! PUB SUOISSILUPE JO} s}sanbe: oj ssauaAlsUOdsa JO/pue LORONpold 40} jsenbel Oo} sseuaalsuodsa: Jo} youal4 pue Ysi|Guz Ul SjuaWNsOp MalAaylsz'0 iSZe1zt ISZ'0 SLELZS epuesw ‘Buor/Z0/0L/1
‘Ww
‘uononpod jenuejod 10} syueWNDOP Mala! ‘aiNpeYyos pue sasuodsey AueAcgsip Bulpreba: Wea; YIM 18JUCd '60) aBayaud sonpalg {oo} 100 00¢$ 100" 100'007S uoseP ‘SIaMOg|/0/6/}.
“sysanbaz Aaacosip BuipieGer xo4 PuejoY 0} Ole asedeid ‘sjsanbal Aiaaoos|p puoses bulpsebed adr] AND ‘W
Ulm 49jU09 ‘ONSNpasd Joy Bo; eGejaud jeyUeWelddns pue sjuoWNDOP jBIUBWA|ddns syedeud ‘senssi }senbe: AleAcosip }s1y BulpeGau j|asunco Bulsoddo o} sere] azieutgiez'9 100°002'2$ SZ’'9 100'002'2$ uoser "suamod{20/8/1
‘Leyew ayesedes]
‘uRidey Ley 0} J8}9| pue sanss! juawnsop Buipebes siamo UOSeP UM silewa sBueyoxe
‘sanss! juewnoop BulpseBes sueBpoy uaseys UM eoUesejuOO suOYdaja} ‘ewes Bulpsebes ASayes dojaaap ‘sisenbe, Aaacosip jo }es puooes Buiprebel siamo uoser
WIM @ouaJEjUCD ‘sysenbes AJsACOSIp Jo Jes PuCdes BulpyeBas xo4 PURIOY 0} |]BWe Yep ‘awes GuIpseBer siIamog UOSer UVM s}lewe aGueyoxe ‘sonssueacosip BulpreBaz
Ue|dey Ue} 0} 1878} Jo Yeup pesiags esedeud ‘sanssi Aeacosip GuipseBes xo purjoy YIM aoUEseJ”ICO aUOYdae} ‘ouI|peep Yedxe jeyNge: BuipseBor JUBIE) UROUNG
pur 'ueuuag Apuy ‘xo4 purjoy uM sjrewe s6ueyoxa ‘Yoyew ayesedas]
‘uonountut Areujw|jaid pue SuOR UBS JdLUAOd JO) UONOW UI peysanbeu aq 0} Jales jo euNjeu BulpseGes uB;dey Uey Wodj [lewa MelAeY|oO'y 100°008'+$ oo'9 100'002'2$ And ‘adrq|z0/e/4
‘Leyew ayeredes}
‘ewes BuipseGes uejdey vay 0} ewe yep ‘owes GuipyeBes xo4 pue|oY 0} j!ewWe Yes ‘Joel eANoUNtU! puR SUN UES:
jdwe}u00 Jo; uoNoW BulpseBes UR|dey Way Wo4) EWS MetAel 'sanss! UOR!sodap Bulp:eBal xo PUR|OY UIIM S}telWa eBueYoXxe ‘senssi UONIsodep BulpseBes ugidey
udy O} ewe Yeup ‘Veyew sjeredes) 100" 1000S 100'E 00'0SE'LS And ‘edi zovs/t
‘Ww
‘senss} juawnsop BuipieGe: wee] YM pucdsaco ‘Leyew oyesedes] ‘uOHONpOJd JO) sJUSLUNSOP aiedeld pue MaiAeY {OS 100 009$ 100°Z loo cogs UuOSEP *SIOMOIZO/F/1
‘Leyew ajezedes]} ‘owes BuipueBes
Bud epuely pue suemod Loser YM sews eGueyoxe ‘sensst Auenoasip BuipseBas sxeMOd UOSEP WO) eWa MatAal ‘[YeyeW ayesedas]
100°} 100’ 0S+$ 0S" 00'SZS' 1S Ano ‘adnzovet
‘$url
“SONSS! SSEUBAISUOGSAl LO 189q 0} JOREUI JO $198} JUEAS|OI JO pasudde auosaq ‘UOHSNpod 10) jsanbe 0} SseUeAisUOdSal JO} sJU@UNDOP ysual4 (BUOHIPpe MAAR?" | SZ 86¢$ ISZ°L SZ'86b$ epuesy ‘bu05|/0/r/1
“awes' ‘Ww
SuipieBes saAeyy 28112 M4 YIM 19;U09 ‘sanss! Al@Acosip Uo a2uapuodseico MelAas ‘snye}s AJeAocosip BulpseBou sueyto puke }eWYTe: M UBLg UM eDUesajU0d auoYde|eL |6z"0 loo'00€e$ S20 l00'00e$ uosep ‘sJ@MOd|/0/E/1
“‘Yeyew eyesedas}
‘suoyisodep BulpseBeu uejdey uay 0} ewe yezp ‘owes Burpee: xog puejoy
0} [ete Yeup ‘ewes BurpreBe: siemog uoser YIM SieWe SGueyoxs ‘sayel JO Yesp pasine: osedaud ‘sayndsip Aseaoosip uo uosod Bulpebay uRjdey Uey 0} 18119) joyep
Matas ‘[Jeyew eyeredes]
‘senssi uonsodep Buipse6e: ueweg Apuly YM 89U818jU00 audYdays | 100't 100'0Sr$ 00" lo0'0Se'LS And ‘edi qZo/es}
“seindsip Ala@aoosip ‘W
Buipiebas jasunos Buisoddo 0} Jay9) yesp ‘sonssi AueAcosip Buipued Bulpie6au adi Ane) uy 29jU09 pue 0} asede.d ‘uonoNnpaid NUB}JOd JO} SJUaWINDOP MOIASY|G2'°S 100°001'Z$ isz’s 100001‘ ZS uoser ‘SueMOd|/0/e/L
“sanss| jew Suipnjaui ‘sayndsip A@A0oSIp 0} pupal
uum ABayens pue snjeys BuipseBas siamo Uosep ym @9Ue22jL100 ‘Hulpeeoud jNco jesepej Ul Saynds)p Aieaodsip 0} Buljejas eouepUodsaxi0o MalAal ‘LeyeEW oyeedas]
1001 loo'os¢$ os'z 00°SZL'LS Ang ‘edijzoret

 

 

SUTY[A UosutA S224

 
2747

05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 18 of 26 PagelD #

Case 1

STX I psssole 11 988g

 

‘Buueay 10) esedeid pue syuauncop 498||00 ‘Bueey AJ@AOosIp aeMeOG Buipsebas adr Ans) uyiM Jajuo|
‘MBIA@J 10} SJUBWNDOP UOHONpPOd jeNuajod ezjUeBuo ‘senss| payejes pur ssesBoud Aleaoosip BulpreBal ujneg esetD pue yeWUyel A Ug Ym 90U98J9jU00 suoydaye | |

0S" 2

100 000'eS

jos'é

100'000'E$

Ww
UOSEP ‘SIOMOg

ZO/OL/1

 

‘4040| aacosip yuiol MalAaY

isc"

10S" 28$

sz"

05° 28$

‘d
JEM ‘“akey

20/9 1/1

 

“uojou Aduebe8We ded jy 0} esuodsa, Aseuiuaid Jo yesp pucoas Buipuebas x04 puejoy o} ewe
HJEIP -BWES {0 RIP puodes asedaid ‘uojow AquaGiewe ded sy 0) esuodsay Aeuiwijasd JO esp JsuIj UO SJUaWLOD MaIARI ‘oseodeD jy Ul UOIssIWgns Alancosip GuipseBad
X03 PUBIOY 0} ewe YEP ‘uoNIsodap Jednaey piseq SulpreSai uejdey Udy 0} |rewe yep ‘owes Bulpre6ed SIaMOg UOSEP pue JUNE UeOUNG qu sjrewa aBueyoxa

‘Burpeesoud deo sy ut uolssiuiqns Aeacosip uo yom ‘[Jayeu ayeredas)
sawes BuipreBai x04 PuelOY 0} EWA Yesp ‘Jalje1 BANOUNTUI PUR “JepI0 UONEASENbes ‘apo JdwWayUCS 10} uojoW 0} asuodse, Areultuiaid uo JOM anuNUOD

OS'P

100°SzS'9$

00'S

100'0S2'9$

An ‘adr

ZO/OL/1

 

‘AaAcosip HulwJaoU09 |pa/diues 0} SySe] MoU Jo pesudde auiooeg

isco

ise b2$

sco

ISS LZ$

"sun

ZO/OL/L

 

‘sayndsip Auaacosip BuipseSau uoyssjwqns unos Bunyerp uiBeq ‘saindsip Auaacosip Burpse6es ediq Ano Ya 19jU05)

(SL'S

100'00¢'2$

[S'S

100 '00E'z$

epuesiyy ‘Bucs
Ww
uosef ‘ssomog

ZO/SL/

 

"781184 BAQOUN[U! pue ‘Jepso UONe.|senbas ‘apo!
jduz9}U09 10} UONOW ded Jy 0} esuodsas Aueurjeid UO Y10M eNUIUCO ‘awes BupreBe: uR}dey Lay o} |eEWS yweup ‘owes SuipreGes jue ueoUNG UM sea abueyoxa
‘auypeep Yadxe /eyNge jo uoIsUE}Xe Joy yesodoud pay:pow BuipseBas uejdey uay Wo Ewa MaIAg) ‘uoRoun(ul Areu}wu|jaud pue ‘yapso UoNeyseNbes ‘1apu0 JdUA}UOS 10;
uoqow s,ded jy 0) ssuodsed Aeuiwijazd UO yu0Mm anuqUOD ‘ewes Burpiebes uejdey Uay 0} EWS Yeu ‘aes BulpseGas x04 PUR|OY 0} |leWa yRp ‘UoNesedeld pur sayep
uonsodap BulpreBeu sednaey piaeg UM eauelejU09 auoyde|} ‘yedxe jeyNqes juased 0} aAes| 40} uOoW Oo; UOMSoddo BulpueGe uejdey uay 0} ea Weup ‘sesuodses
Asacosip deo jy BuipseGes ueueg Apuy 0} hewe yep ‘ewes BuipseBer x04 puR;OY 0} [/BWe Wesp ‘puewag esfuew 410} uoNesedaid uOMsodep 10} soido} Jo ysl] eledeig

100°SL

00'0S2'9$

(00'S

100'0S2'9$

Any ‘edn

ZO/SE/L

 

‘yelles eanoun[ur JO} pue ‘sepso UONeSeNbas JO} ‘}dwajuoo 10, uoHOwW deg
tv 0} asuodse, Areujwue:d UO OM aNUgUOS ‘suONIsodap 40) esedaid ‘dea yy Aq peonpoud syuewngop Aey yo Areutuns asedaid ide9 yw Aq psonpod sjuauinsop malAey

(0S"9

100'SZ6'2$

os'9

100'Sc6'2$

ZO/E L/E

 

“edr Ane) pue juess) UBOUNG
‘X04 PUBIOY UM BdUi8s8jU00 aUOYdeIa} dn-mo110} ‘senss! AAeAcosiIp Buipueysino BuipseBes jasunoo Bursoddo yim e9uas8;U09 auoyda)a} ul ayedionied pue 10) arederg

0S"e

100'00r'1$

os"e

0000'S

Any ‘edi
Ww
uoser ‘sJemog

LO/CL/L

 

‘uoounfur Areujwjeid pue sapso uCeNSENbaS ‘1p }dwajUudO JO} UONOW dey
fy 0] asuodsed Uo YOM aNUUCS ‘seonou UoNIsodap jo Bully BuipyeBes eoyjo s.uBI5 URUNG LIM S90Uas8jU00 suoydaja} ‘owes BulpieBas uejdey uay o} ewe yep

tseoqou
uonlsodap azeded ‘suemog uoser pue ‘syepunes Apues ‘uejdey uoy UjIM |]29 Buea Assaoosip ui syediojyed ‘10) aredad ‘Leyew syesedes]

‘yallad @ANouN{U; puke “OPI UOHBSaNbas ‘seplo ;dWSyUES 104 UOHOW deD jy 0} asuodsel UO YOM aNUQUOO

‘uonow AqueBiewe ded jy SuipueGes siamo uosep pue ‘JueID UROUNG ‘URWAg Apu ‘xo4 pueiOY UI S0UsJ2JUCD ELUOYda|a} ‘senss! UOIsodep BulpueBe, xo.4 purjoy
WM sjewe eBueyoxe ‘suonsodep Bulpueba, uejdey uey 0} ewe pesodoid yeup ‘suonsodap BuipreGed uejdey uoy WO) |1PUIS MAIAS) ‘owes BulpueBes xo4 puRjOY

©} jews yep ‘[ssauyM] JO punouByoeq yoseesau ‘jal[e1 eANOUNIU) Pu ‘Jep10 UONRASANbes ‘Jepio jdwe}UCO JO} UONOW des sv 0} asucdsal UO YOM SNUNUOD

00°9

00'002'2$

00°01.

100'00S'r$

And ‘edi7

20/2 b/E

 

‘uoneodde uojjounful matvoy

0s"

100 00¢$

0S"

100'00¢S

W
uoser 'SIOMOd

Z0/bE/L

 

“seo ded jy u| uoNOW Aouabsewe 0) asuodsa! uo yom enuNUOS ‘ewes BuIpIebed

Wea} 0} SBS YRIp ‘sasuodsal AsAcosip ded jy MatAed ‘aseo ded jy ul ja792 SAnouNful pue ‘ieplo uOReASaNbes ‘Wduwe}UCO 40} UOOW 0} asuodsa: UOC YOM UIBeq
‘ewes Buiprefas wee} Wim Seoues8jU00 sucyda|s} pue sebueyoxa jews ojdyynuw ‘Lreyew oyesedes}

‘waepiye Buiuoddns puke ‘ded jy ul joes aanountul pue ‘sapio UOWeASeNbes "}dua;U0O 10) UOOW $,deo-;y MIIACH

100° 2

100'0S4'e$

100'009'e$

Ang ‘edq

[20/4 $/b

 

‘suewNoOp UIeLaS Buipuebe, senssi uo WNpUuROWeW Hew
© jeusajul aiedaid ‘sevioyeGoueyu! pue SUOISSILIPe J0y sjsenbes MaiAa, ‘UONONpOwd 40) s}sanbei 0} ssoueAlsUOdse 10} YOUeL U} PUB YsyBUy UI sJuaWNOOp Malas JayUN4

20

SLES

iSZ'0

SZ'Eles

‘Sun

LO/L L/L

 

‘suoisiae, peyseBins pue sjuaw.wos pues pue yesp ‘juawealbe Ajjequapyuce MelneL

S20

0S 29S

isZ'0

0S ‘z9e$

epuBaW ‘Buoy
‘d
seyeaa Jakey

ZO/O L/L

 

‘ueweesbe Ayyenuepyjuce Bulpuebel xoq puzjoy

 

0) jee yesp ‘Yoyew ayeiedas])

SUIYIG Wostt A S204

 

 

 

 

 

 

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 19 of 26 PagelD #: 2748

STX'IPSssole 71 28eg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘W
‘owes Bulpiebes equepuodsaoo Bulwuyu0s esedeid pue uoisuedsns Auancosip BulpseBes weal yim sajuce ‘sBulpeajd yezp Malay OO | 00 00r$ 100' | j00'00rS UOSEL 'SIOMOd]/0/E2/1
“sBulpesid ou} uo juawBpni 10} uogou jo Uoddns ul jeug Buiuedo yep ‘ewes BulpseBas x03 PUE|OY 0} {BWA yep epso Buyelig pasiney pasodoud pur jlewa Male.
uepio Buyaugq BuipieBa ue|dey uey Woy} jewa MalAa ‘Layew ayesedes}
100"9 100°'002'2$ loo'zk 100 007'SS Any ‘adnizo/eest
“Bul|lj 40) SjuaWNDOP UORONpod eziuebJo ‘buyauq Suipuebes uoneindgas 'W
Ud JUBLUWOS pue MaIAas ‘Sanss! payeje: pue Aeys Aiaacosip BuipseBes wea} yim Jeyuco ‘eyew eyesedas] 002 l00'00et Sty 100'002'1$ uosep ‘siamo {/Z0/Z2/h
‘aes Bulpiebe x04 PURIOY 0} [!ewe yeup
‘uoHIsoddo yeup azijeuly pue asivas ‘oyew syesedes)
‘ewes BuipueBe. xo puejoy o} ewe
wep ‘ded jy woy yoda, pedxe jeynge: maine: ‘sepso Buyelzq Guipreber uejdey vay 0} "ewe WWSUey pue ozieuy ‘ewes GulpseBe: siamo UOSeL pue JUBID UBOUNG
uM see oBueyoxe ‘senssi Buyjauq Uo sepio pesodaid BulpyeBe ueidey uey 0} ewe yeup ‘Jaye syeredas}
{eSB (esape} aleMe}sG UI SENss!
Asaaoosip BuipreBes siamod UoseP YIM s}lewa eBUeYoXe ‘esed yNod jeiepay esemE||q Ul Senss! Buyeug BuipieBes xo4 pue|oy WIM s[leWe eHUeYOXe ‘Leyeu eyeredas]
‘awes BuipueBeu jueig ueoUuNng YIM sifewe eBueyoxe Uapo Bujauq rl
Yep pasive. esedeid ‘owes BulpreSez juesD ueoUNG YIM sews abueyoxe ‘suojow Aouefyewe BulAuep uosuiqoy ebpne Aq poubls syeps0 JO LORBOYNOU [Ewe MalAeYloo'Z 00'006$ 100'Z1. 100'00r'S$ Ang ‘edn zoee/t
‘ewes Buipseba x04 purjoy 0} ewe Yyeup ‘ewe Buxueduioose pue uridey uey wo Japi0 pasodoid malAey {0S ‘0 100'S22$ 10S'0 100'Szz$ Ane ‘edrjZ0/6 1/1
“UOJSNOH O} wuNjeu Noo W
[esepa) aremejaq Ui a9UaJajUO9 AyeAoosip pue snye}s pusye pur Jo} ezedeud ‘aye eyesedes] 100'2 100'008'z$ Ser in0'002'S$ uosep ‘SueMOd|Z0/81/1
“SDULIEAY BJEME|Aq WO UO|SNOH 0} WN}eH}O0'S 00'0SE'LS 100'9 100002 ‘eS And ‘ean Z0/el/t
“puemioy Bulb ainpeyos pue Buueey jo awoojno Buipuebes
X04 PURIOY WM G9U819jU09 suoYde|e] ‘ewes Huilpsebes uewweq Apuy pur ‘slemod UOSEP JUBIE UPOUNG UM S80U8J8jU0D ‘NO jeeps} leME|Ag pure [YeHeW
oyesedes] sSuueey ul ayedioiied pue puaye ‘owes 10) uogeedaid SuipseBei x04 puejoy YM Seque98}U09 auoYde/e] ‘owes Buipieba,
SUBMOd UOSEL PUR 'URWEG ApUy "JUBIE) YBOUNG YM SEOUaZAJUCS ‘UNOS ;eJepo) aseMeIEq PUe LJaYyeW ayesedes} sBuurey 10; esedeldj0s'S 00'S b'Z$ 1001 | 100° 0S6'r$ Ang 'edq|Z0/e1/1
‘sun
“senss! pue snje}s eseo jo pasudde awooeg|sz’0 SZ 1L$ seo SZ ELS BpUBIIW ‘Buoy |Z0/BL/t
Ww
‘Buueay Aeacasip 40} uoiBuiw Mm 0} ane. ‘Buueey AaAcosip 10} aredaid ‘sway uojonposd jenuelod jo maiaay eyeulpsooo ‘uosuIgoY apne o} saya) LleAoosip esiAsy|se"9 100'00S‘z$ iOS'Z4 i00'000'S$ uosep ‘SIBMOg|Z0/Z 4/h
‘sonss! eseo pur sBuipeald pasedaud jo syesp MeIASHWOS'O 100'SZES ios‘0 100'SZES xOuy ‘AI]BUUNN|ZO/Z1/t
‘sHuuRoy 10) uoQeedezd purl
‘uoisspwqns Aenoosip $,deo fy ‘sensst Auancosip BurpseBes uBwiag Apuy pur ‘siaMmog UoSeP ‘JUBID5 UEOUNG UM SedUds8JU00 ‘UOIssiWQns A@ncosip dea jy MalAsyy|00"| l00'0SP$ 1002 100'006$ And ‘edrZo/Zt/h
“QJEMEIOC] O} SUB) U) SOUIPSed0ud NOS jelepey pue Leyew ayesedas} sBuueay Jo) eledaighos'z lOO'SZE'LS 00'S 100'0Sz'2$ ANd ‘BANZO/Zb/L
“uonow Aouebewe deo jy 0) esuodsa, Aseuiwuijeld jo Gull!) pue of sudisiAe: pue UOIssiWgns AseAoosip pue sanss) Aencosip BuipseBau JUBsE) UROUNG WIM SeoUesaJU09
euoyde;9} ‘uojow Aouefiews ded jy 0} asuodsa, Aseulwijesd pue uo|ssiwqns Aiencosip 6uipseBes x04 PUB|OY UjIM SedUssajU0S @UOYdeya} SUNOD |B1epe} EseEME|AQ PU
Leyew sjeedes] sBuueey 40) avedad ‘uojow Aouehiewa deo jy 0} esuodsas Areuiujeid pue SuoIssiUqns Ai@AOOSIp UO JOM BNUUOD|OS'z 100'SZL'LS 00'S 100'0S2'Z$ Any ‘odiyzo/Z ish

 

SUNY UOSUI A S394

 

 

 
2749

05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 20 of 26 PagelD #

Case 1

STXTpsssole Ep adeg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ww
Me] aJemejaq JepUN sea) sAsWONe 0} 1UBu BuipseBes senss) Uo youeeses u16eg}00' | 100'00+$ 100" } 100'00%$ uOoseP ‘SIOMOg|Z0/EL/E
WwW
“Yeap ueuBUeD asiAas ‘esuodsai 10) aGenBuej yeip ‘esuodsei uo UBUBURD WIP UJI 5ajU09 ‘eSeO MaIAal ‘aseo Buiddiys AseyUe4 UO UNCO Oo} Jee] JaHaMJaq MaIASYIOS |} loo'009$ iOS’ 100'009$ UOSEP ‘SIOMOGVZO/ZL/E
"eSeo "
[esapa) aemejaq U! wiejo aay sAawoye Sulprefe: sewWieYysjeyy MespUY pur ‘JUBID UBOUNG ‘okey 20112 M4 ‘adr And UM aoUepUCdseI09 pue SeoueJajU0o suoYdere! 100'L loo'00r$ 100’ |} 100 00r$ uosef ‘siemod|/0/6/E
“$1800 UMO Jal) Bueeg sealed UpIM [eSssiWsip 10; uoNeindgs jWwiof 10} pesodaud jo uonoefas Buiprebes uejdey uey
0) #eWe yeip ‘owes Gulpsebas JeAeW Joye M4 UUM sirewe abueyoxe ‘o6uc0> au) uM jUoWEmes ded jy 0] BuNeies senss! Guipse6es Ueuueg Apuy ym slrewa aBueyoxgios’o 100'SZ2$ 10S'O l00'Szz$ Ang ‘edrzo/zz/2
“owes Buiprebes ued ueOUNG UM Sebueyoxa PW PUB SeDUeJajU02 auoYyde|a} -aJEME{aQ Ul Jauq Aided jo Bully 0} puaye pUe azIeul4qioo cz 100'006$ 002 100 006$ Any ‘admlzo/tz/~
*yaug Ajdas Jo uoIsuaA pasiaal esedald ‘Jorg Aides Lo SquaWwWwOS Bulpsebad XOg PUe|OY IM SouelajUGS SUudYde|a1 [OOP 100'008'1.$ 100’? 100'008'1$ Any ‘adm{zo/oz/2
“ewes BulpieBes ubWwag Apuy Ui eoueiajucd auoUdele} ‘awes BulpueGes ueLUaG Apu puke XO4 PUR|OY 0} |eWIa YWeIp pue ei A\daJ jo yep pesiaal
azZIeuUly ‘ewes 0} BuNejas Yoseases euONIDpe UWOPed pue joug Adel JO wep Pesinai UO OM ‘UBWAG Apu pu Jed UBOUNG Woy jag YeIp UO SJUaWLUCS MalAeY|09'6 00°SLZ'r$ i0S'6 100°SZ2'r$ Ang 'adrq|Z0/61/2
‘sseiBoid uy s6ujpesid yeip melAdy}OS‘O 100'Sces 10S'0 100'SZE$ xOUY ‘ABUUNN|ZO/S L/2
“owes Dujpuebas uewueg Apuy pue xXo3 PUe|OY 0} JeWe yRIp ‘jeu Ajdas jo yesp ysuyj Byajduidd ‘yang Aides uo 410M SNUNUCDIOO OL 100°00S'rS 1000} 100'00S'7$ And ‘ed Z0/S Lie
‘you Aides Ud 10M BNUNUCD|OO'OL 100'00S'r$ (00°01 100°00S'7$ And ‘adr |Zo/r fe
"yeuq Aides Uo YiOM snuUCS
isenssi me] areMejeq Buyprefes ueubueg wir pue JURJD UBOUNG UTM SileWe sBueYoxe ‘jouq A\das UO 10M UIBeq ‘ewes uo sjueWUWOD esedeud ‘jog deo sy Malnayloo'Z 1000S t'e$ loo'zZ OO OSL 'ES Any ‘adiifzove be
‘Ww
“pnos jesepa) aremejaq ul soded suoyow deg-jy MaIAaYIS/'0 100"00€! SZ'0 100'00E$ UOSPS ‘SIOMOdUO/CL/C
“QUES UO SIU@WLUCS Jo UONBIEda.d ulbaq ‘senss! suojebligo AreyauOW-UOU pue YISJ UO jaug Jamsuy des-sy MaIA@yIOS | 100°S29 OS’ | l00'S9$ Any ‘edr[zo/2 Le
“auses Buipsebes x04 PUPIOY 0} EWE YeIP Jepid Huyeuq MOlACH {G70 OS'2 Lb Seo 0S 'ZLIS Any ‘adn|o/6/e
‘uoneoidde aaj sKawioye Burpsebei suamod UOSet YIM BOUIEIBJUCO SUOUdEIaL [6z'0 OS chy isc 0 OS ZL LS Any ‘ed |Z0/8/2
“owes BulpueGes xo4 puejoy o} ewe Yelp “apso Buljeuq pasodoid BulpseBes uosuigoy abpnr 0) |asunos s,deo jy wou} Jaya} MalAal apo Bulyjauq pasodoid
jo smeqs Burpee, yue25 UBOUNG UWA 99U93JUC0 aUOYda|s} ‘ajnpeyos peyedionue pue sepio Buyoug jo snyeis Hulpuehe: xo purjoy yy souaiajuCD suOYdela, jos'0 loo’sez$ 10S'0 100 Szz$ Andy ‘adiq|Z0/1 6/1
“ewes Buipiebes X04 PUBIOY 0} [ewe Yeap -uoReindys OujAcidde sapic menaylcc 0 OS ZL4$ iSsz'O 0S ZL 1$ And ‘adr |Z0/0€/t
‘jessiwsip jo uogeindys BuipseGes suonenoBau jo snyejs pue eased ynos (esepe} U! joug Bujuedo jo Buy BulpseBou yueIs ueoUNG
YM SouaIaJU0D aUOYdsala} ‘Uayew ayezedes} uapio Buyeuq pue jouq Buluedo jo Buyjy BuipyeBes jueis) ueoUNG
0] sjewe yep ‘oq Buluado 0} suotsjaas [euly axe ‘sGuipeajd ayy uo yowBpni Joy UoYOW Jo poddns U} Jouq Buluedo BulpueBai x04 pueloy YIM 8oUeJ8}U00 suoYdals | [oO | 100'OS¢$ OS‘ 100'SZ9$ Any ‘edn|z0/ez/t
‘sanss| AiaAcosip BulpieBe jasunoo Buisoddo yim puodsaui0o Ww
‘heyew ayesedes) ‘sBulpeajd uo juawBpni 10) uoyow Uo syauq yesp UPA PUB MaIABY100'Z l00'008$ isz'e 00'00E't$ UOSEL ‘SIaMOd|/0/S2/
‘sBulpeaid eyy
uo uawBpnf 10) uoyow yo Yoddns u! Jeuq Buluedo yeip GuipreBe1 xo PUBJOY O} EWS yep ‘sHuipeajd ayy UO yUSWBHpnI 40} UOROU fo Loddns ur jsuq Bulusdo UO YIOM
enujucs ‘awes BulpieGes uejdey uey 0) ewe WWSUe,) ‘ewes Bulpiefes siemog UOser puke YURID UBOUNG 'UBUHAG ApUY ‘x04 puRjOY LIM sewe eBuRLoXe ‘aes
BuipueBe, uejdey uay 0} ewe yeup pUe JapiO UNCD je1Epa} JO Yep pasiags QsEdaud ‘Lenew eyesedas] @SEO SJEME|SQ
J2J@pe} ul ainpayos Suysuq uo Jepio BuipreBe suemod uoser pue ‘UBUBURD WIP UeIE UBOUNG YIM seta eBueYoxe ‘sHurpeajd au) uo jwewEpn! 10) UONOW yo oddns
ur yeug BuipseBes xo pueloy UM sileWa eBueYoXe ‘eoussejU00 Aienoosip g1 Arenuer je deo jy Aq spew sjuawnbze SuipieBe: xog puejoy Uy Seu eBueYyoxg|OS 11 100'SZ.1'°S$ 100 Zk 100'00%'S$ Any ‘edi4}Z0/Se/h
‘Ww
‘yessiwsip pue Guyaug uo suoqeindys yesp pue eouapuodsaios mala ‘Layew ayesedes] 0S'0 100'002$ OO 100'00r$ uosep ‘S19MOd|/0/Z/1
‘sBulpeaid ou) uo juewBpni|
40} Uo}}OW jo Poddns ur youq Buluado yeup BuipueBe. xoy puRjoy 0} EWE Yep ‘sBuipeeid ayy UO jUeWHpNI 40} UOHOW Jo Hoddns UI jeuq Buuedo UO y20m enuIUOS:
‘oes Buipsebe. uejdey Usy 0} ewe WWsUeN ‘owes Bulprebes SIQMOg LOSES puUe ‘JURIED UeOUNG '‘UBWWag Apuy ‘xo4 pUue;OY LYM Sjrewe aBuRYoxe ‘ewes Buiprebe,
uejdey uay O} !eWa YEIP PUB JEPIO YNOD jesEps} Jo Yep pesiAal eledadd ‘Layew ejesedes) @SEO SIEME/OG
jesapa} ul einpeYyss Gujalsq UO Jepso Bulpuebe syamMod uoser pue ‘UBUBURD WIT JUeID UROUNG UM SeWe eGUeYoxe ‘sHulpeald au] Uo JUaWBHpnI 10) UONOW Jo LOddns
ut jaug GuypseGas xo PuR|OY YM s}leWa abueYyoxe ‘aoues9jU00 AJ@AOOSIp g|. AJenuer je deg jy Aq epew sjuauinbse BuipseBa: xo4 purjoy WIM sewe aBueysxyloo'z1 100'00b'S$ 1OS'ZL 00'Sz9's$ Any ‘adrizo/pe/h

 

SUPA] YosUIA saoq

 

 

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 21 of 26 PagelD #: 2750

SIX PSSsole bl a8eg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4~yORs} 1WGZ$ IWYOZ$ | UOSUyoP euly
JWOLLS} 4/5013 JY/SB$ | UO dI[S97
6u0y
AW/S82$) swOPes VIN ury-epueuyy
AU/OSES ALS LES JU/OL2$ | _sekeyy e118 M
JU/Ser$' +YSZE$ JUs/OFES SpulH ued
4O0rS 4U/OSES JU/SZES | SIOMOd LOSE
JWOSr$ 4wosrs 1U/Ser$ adn Ano
4osos 4WOSOS 4u/009$ | AeuuNN xouy
L002 [g002 isoo2 aweNn ddyL
AYVAWNS
ALVY
100 LEZ 0S'40Z'r82$ o0'6e8 SLESB'BEES $
“ewes Buipuebas jueID UBOUNG PUR X04 PURIOY 0} SIIEW-8 Yesp 'S}S09 JeUJO pUe seg} SA@UJOLE 10} UONOW jo yoddns ul joug Buluedo aedaigloo'9 100'002'2$ 100°9 100'002'2$ Any ‘adinizo/-eve
“WwIe}D) Ww
989} JO UONEJUeWNDOp BurpueGes JewleysieW MeupuY YIM @dUd18jU09 aUCYda|9} ‘SPIePURIS Be) GUBME}aq UO YOJRASa! MBIAB ‘UOOW saa} sABWOYe OSIAQ] PUB MAIABYIG/"O 0006S SZ'0 100 00ES uosep ‘suaMOd{Z0/6 I /e
Ww
“‘UONSE BJEMEISC UL UOROW Ba) SABWOVE jo We!p jeNlU! ayajdwoo ‘yosREses SNUNUOD OSE 100'00¢'1$ lose 100'00¢' L$ uosef ‘sIeMOd/O/OL/E
‘W
“WIe|D 68} GJEMB/SQ UO Ykesad BNURUOOISZ'O j00'00ES SLO 100 00ES$ UOSEL "SIOMOd|Z0/SI/E
Ww
“WIE]9 88) BIBME/OQ UO Yeasad SNUNUODIG/'b 100°006'1$ S2'y 100°006' L$ uosEr 'SIOMOdIZO/PL/E

 

 

SULA wOsUIA S304

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 22 of 26 PageID #: 2751

Exhibit 2
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 23 of 26 PageID #: 2752

jo | o8eg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

HVIVOO/HVI Sully e}UBUIUOD 200Z/91/L ZLOZPLOCOZ-#LYL
Anp/edr 2002/92/} “ALVG 8SS16r :#AOIOANI Ou} |eAe1) feuONeUIayU] YOSOI4 “YONA OS'ZL $ Avelv} And ‘edi|Zo/o4/t
HVIVOVHVI Seuliiy [2}UaUNnUOD 9002/L/2h
bySE6sreoZ-#Ly AnD/edi] 9002/8/e1 OLSL6P :#ANI SU] JeAeI) ;eUCHeUIE}U| YOSOJ4]| OO'SE $ Aviv] Ang ‘edijgo/t/er
HVI/MDVHVI SoUuliy [2}usUUOD 9002/1z/1
LeLp6pve9Z-#LL Anoyedi] 9002/L/el SLSL6P “HANI OU] [ener | |eUOHeWUAIU] YOSO14| OO'SE $ dvuiv}] Any ‘odrijoo/t ain
HVI/VOO/HVI Soulpty je}UaURUOD 900Z/71/6 LESCEPZEOZ-#LYL
Anpyedn 9002¢/22/6 ‘SLVG Levi 6y :#AOIOANI OU} [eae] PeuOneUIS}U} YOSO4 “HOCNAA| 00'SE $ AVulv}] And ‘edrj90/e1/6
UNOD jelepey4 asemejeg
Ul BDUGIBJUOD AlaAodsiq puke snyeyS pusyy-uo}snoH/eiudjepe|iud-SANMHIV TWLNANILNOD "W uoser
“20/8 1/LO-EcOBPlLSE9ZSO0-#11 LOO?/PI/e ‘ALVC PZ8LZZNOO :#S30IOANI XAWY ‘HOGNFA| BLES $ HIV *SIOMOd|Z0/8 1/1
“aseme|aq u! SGueeY Pusyy-}e49H JO UONOd pasnuN JO} NPe49-SSNITHIV WINANILNOD
“LO/LL/LO-ELOZVIQEQLSOO:#I4L LOOZ/EL/e -ALVO Z891Z2NOO :#AOIOANI XAWV HOGNAAI (Ez'91z) —$ YIV] And ‘adi|zo/eL/t
“eseMe|aq Ul S6uesy PuEy-HVI/Wd eIUd|epe|iud-SANIMYIV IWLNANILNOO
“LO/Z1/LO-ec08P L9E9ZS00-#41 LOOZ/EL/e “ALVG Z891Z22NOO :#ADIOANI XSW ‘HOGN3A] BLES $ yIV} Any ‘edrqi/o/ei/t
uNOoD elope asemejag
Ul 89U818jU0D Alancosiq puke snje1S puspy-elydjepe|iud/UOISNOH-SSNMHIV WWLNANILNOD "W uoser
“20/8 1/LO-8S9ZPL9E9ZS00-#1L LO0%/rl/e “ALVG pZ8LZZNOO :#ADIOANI XAWY ‘HOONAA €6°0S1 $ YIV ‘SIOMOd |[ZO/9L/L
‘osemejeg ul sSuyeey pueny-HVI/Vd ‘eludiepeltud/HVI-SANIMYIV TWLNANILNOO
“LO/ZE/LO-ELOZPLOEOZSOO-#L LOOZ/E 1/2 “ALVC Z891ZZNOO :#SOIOANI XSWY ‘HOGNZA| St'z9¢ $ wv} And ‘edr|zo/94/1
‘[Sseuym jenuajod]) PUB JUSIID YUM JOOW O} 4JOA MON O} [OAR -80) oGueYyo
1UBI-SANITHIV TVLNANILNOO-90/r0/ZL-9109SEZ09ZS00:#PLL 9002/SL/ZL 8h0Z9ZNOD] 00'Sz $ ylv}| And ‘edrigovs/er
[Ssouym |2U9}0d) PUB JUS!/D UUM JOO 0} YIOA MAN O} JOABLI-HVIAYDV/HVI
“SANITUIV W.LNANILNOO-90/P0/2 L-pPSEG8PE9ZS00:#I41 9002/SL/ZL 8h0Z9ZNODI 61098 $ ylv} And ‘adrigo/t/et
uoimsodap S,XO4 PUBIOY 10} UOPUudF O} jaAes} -diujpuno HN ‘UOpuOVHVI
“SANIIIV WLNANILNOO-90/92/} |-L2Zr6PyE9ZSO0:#IL 9O0Z/SL/El BE0ZIZNODI OO'veS'z = uIv| And ‘adri9o/tz/tb
‘[Sseuym (enUaj}od] ‘WueID UBOUNG ‘xo-+4 puBIOY
YIM JaoW 0} OG ‘uojHulyseM 0} [@ARIL-HY/OG UO}BuIUSeM/HVI-SANITHIV TWLNANILNOO
-90/80/01-LEEZ6PCEQLSGO0-#4L 9002/61/6 ‘ALVG Z26S9SZNOO :#4S0IOANI XAWV ‘HOCNZAI $9'8/6 $ yiv} And ‘adri9o/21/6
SUWIEN
SATEEN Pelig wy japedgysoo| dL eyeq

 

 

 

 

 

sub|[q uosulA sasusdxq

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 24 of 26 PagelD #: 2753

jo 7 a8ed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

O09rrrZrSZ0Z ‘W uoser
#49811 90/60/80 3Q NO.LONIWNTIM LNVHD NVONNG ‘W HW e9ze6zZ bb “Aut - xaqa4! sc'sz $ yaa ‘S18M0q4190/6/8
MHD 8 H19 HOS WWLOL| 71'602'r = $
-L09000-00062-00ZSWO! Ze"es $ M10} And ‘adn{zo/st/2
-L09000-00062-00ZSWO| Sz’zv8 $ Mu10| And ‘adn|zo/rt/2e
-L09000-00062-00ZSWO]| ZE°r6Z $ My190] And ‘edm|zo/e tse
"" jaueg
-€691.00-00062-00ZSIND] EEL $ MY10 ‘@PUuIH|90/E/8
"7 jalueg
-€691.00-00062-00ZSIND| 86°2 $ M10 ‘aPulH|90/2/8
"" jalueq
-€691.00-00062-00ZSWD| S9"Lzz $ M10 ‘@PUIH|90/2/8
"Z je1ueq
-€691.00-00062-00ZSWO| 62°902 $ M19 ‘@PUIH|90/1/8
"Fy ja1ueq
-€69 L00-00062-00ZSWND] ve"6z8 $ M10 ‘@PUIH}90/ LE/Z
"" a1ueg
-€691.00-00062-00ZSWO} S6'ESL $ M10 ‘@PUIH|90/82/Z
-209000-00062-00ZSWO| 8€°90r $ M10] And ‘ednigo/z2/2
-209000-00062-00ZSWD] 22°82 $ MY10] — And ‘edrj90/¢/t
-409000-00062-00ZSW)| OFZ $ Mu10| And ‘admjso/et/er
-209000-00062-00ZSWOI 6€°6 $ My10| And ‘admisovever
-Z09000-00062-O00ZSWO] ez'lor'k = $ W190} And ‘adrnjsovet/er
AVUIV 8 HIV AO TWLOL| SO9Iz'OL $
HVIHd Seuipiy jeyUaUNUOD 4002/8 1/1 EZOBP19E9Z-#LYL W uoser
uOSseP/SIOMOd 200Z/9Z/l ‘ALVA 8SS16P :#SIOIOANI Ou] Janes, FeUOHeWE}U] YOSOJY :YOGNAA| OS‘Z1 $ 4dvulv ‘SIOMOd|/0/8 L/t
HVIMHd Seululy jeJUeUNnUOD 4002/8 1/1} ZZOBPILGEOZ-4#L WL
Anp/edi] 2002/92/b ‘ALV 8SS16b :#SDIOANI OU] janes) eUONeULEIU] YOSOJ4 :YOGNSA| 0S°ZL $ dvulv| And ‘ediizo/e t/t
THd/HVI Seuijy |BUaURUOD 200Z/91/} BS9ZVIOEOZ-#IHL "W uoser
UOSEF/SIOMOd £002/92/1 -ALVC 8SS16r ‘HADIOANI OUI jeAes | euOHeWaU] YOSOJ4 :HOONAA| OSZL $ AVIV ‘s19M0q4|/0/91/t
HVITHd JIVSN 200Z/91/1 BSOZPLOEQZ-#IML ‘W uoser
UOSeL/SIBMOd Z00Z/92/k “ALVO 8SS16r :-FIOIOANI Su] Janes | feUOHeUE}U] YOSOJ4 :YOGNAA| 0S’Zt $ AdVHIV ‘Ss9M0d|/0/9 1/1
HVIMHd/HVI Seuliiy Je}UaUNUOD 200Z/91/l ELOZPLOEQZ-#1ML
Anp/adi] 2002/92/t ‘ALVO 8SS16r :#SOIOANI OU} [aAR1 4 (eUOHeUJAIU] YOSOI4 ‘HOGNZA| 0S°Z4 $ dvuly| And ‘edrqjzo/ot/t

 

SUDy[y UosutA sosuadxy

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 25 of 26 PagelD #: 2754

p Jo ¢ adeg

 

LNNOWY TvLO1] Zo'988'91 $]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TALOH HOS IWLOL| 81'86S'l =
‘azemejag ul Shuueay
PusPy-UO}BuIWIAA-I9IOH JOUIO- ZOOZ/EL/Z -J1V0 Z891Z2NO9 :#S0IOANI XSWV ‘YOCNIA| S6'SZL $ TALOH| = And ‘edrizo/zi/4
‘[SSouyM jeUa}od)
PUB {UAI/9 UPIM JBOLU O} YIOA MAN O} [OAI | -YJOA MAN-S|O}OH 1lUWO- 900¢/SI/2l 8VOZ9ZCNOD] /6°222 $ TALOH| And ‘edrjgo/s/er
‘[Sseuyim jeRnuajod] PUB JUSI}D YM JAW 0} Og ‘uo;Builuse/M 0}
[9ABI | -UOJBUIYSeMA-18}0H JOUIO- 900Z/Z1/OL *S.1VG GL86SCNOO :#30/OANI XAWV ‘HOGNAA €L'2ze $ TSLOH} And ‘edi9o/6/o1
‘[Sseuym jenueajod] Pue JUdIIO YUM JOOW 0} Og ‘UO}HuUIYSeAA 0}
JOABI | -UOJHUIYSEMA-[9}OH4 JOUIO- 9002/Z L/OL -d.1VG SL86SCNOO :#30IOANI XAIV (HOONFA €1'zze $ TBLOH| Any ‘edrqi9o/e/ot
?130 4O4 TIWLOL| 02'29¢ $
VOEELPCHSZLOL *"W uoser
#49211 £0/80/L0 00 NOLONIHSVM NV 1d ‘d HLSNNS® 7$8262298 “AU - X3034]| 8S'EL $ y73aqd “S18M0q|/0/8/1
CSEELYCHSZLOL "W uoser
#49211 20/80/10 3d NOLODNIWTIM LNVYS NVONNG ‘W #$8262298 “AU! - X3Q34] 8S'EL $ v1a0 “S18M0q]Z0/8/1
9bZZCLEOLEOG “‘W uoser
#49811 90/82/Lt 30 NOLONIWTIM LNVWHD NVONNG ‘W ‘HW zzP90ssse “AU - X3GS4{ 92°61 $ v14q ‘S19M0q4/90/8/ I b
SELZCLEOLE0G6 "W uoser
#4981 | 90/82/k | OG NOLONIHSVM NV 1d ‘d HLSNN&® HIN &L790SGS8 “Au - X4Q33q] 926 $ 715d “S19MOd |90/82/L |
pOvZZL601LE06 ‘W uoser
#49811 90/Z2/Lt OG NOLONIHSVM NV 1d ‘d HLSNNA™ 89Sg9zsse “AU - XAQA4S] #902 $ y7Qq *S18MOd [90/2Z/1 F
92r7ZZ2LGOLE06 ‘W uoser
#49241 90/Z2/L | 30 NOLONIWTIM LNVY5 NVONNG ‘W ‘HW g9ss9zsse “AU! - XAG34] #902 $ 150 *S19M0q4|90/Z2/1 1b
BLOSZLEOLE06 #49211 GO/Z L/L NOGNOT XO4 ONV1OH S9102¢2108 “AUl - X3GS4] 92011 $ 7130 Any ‘ediqj9o/Z L/L L
QSCSOPSPSG/O2 #NOBIE SO/ZE/LL
[Ssauym jenuajod) Z8SOLZES8 ‘AU! - XAQ33I| zeze $ vlad] And ‘adrqigo/z t/t b
O9¢CrvELCrS8Es8 "W uoser
#49211 9O/01/Lt 3G NOLONINTIM LNVHD NVONNG SPZS19¢s8 ‘aul - x3qQa4 18°28 $ y1aq “SJOMOd (90/0 1/1 F

 

SUDA UosuLA sasuadxq

 
Case 1:05-cv-00762-SLR Document 107-1 Filed 03/23/07 Page 26 of 26 PagelD #: 2755

b jo p ode

 

soda, asuadxe ja}0}H 73LOH

 

SSoJdxg |elapey BIA Aanog r1gd

 

QIve=| ~w aameesns se ee em

SIXS'] F MEjSA/AA YDJBSSS}) MH10 H10

 

see} Anuabe 8ael) 4VHIV 2 HIV

 

 

SE8PO0D 1S04 0} xepu]

 

 

sun] uosul A sosuodxq

 
